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                         Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
WARNER RECORDS INC., et al.,

         Plaintiffs,

v.                                                       Case No. 1:19-cv-00874-RBJ-MEH

CHARTER COMMUNICATIONS, INC.,

          Defendant.


         PARTIALFIRST AMENDED ANSWER, AFFIRMATIVE DEFENSES, AND
                    COUNTERCLAIMS TO COUNT I OF THE 1
                                FIRST AMENDED COMPLAINT
                                        PARTIAL ANSWER
          Pursuant to the Court’s Order at ECF 141, Defendant Charter Communications, Inc.

(“Defendant” or “Charter”), by and through its counsel, hereby answers the First Amended

Complaint, as to Count I for contributory liability, of Plaintiffs Warner Records Inc., Atlantic

Recording Corporation, Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By

Ramen LLC, Lava Records LLC, Maverick Recording Company, Nonesuch Records Inc., The

All Blacks U.S.A., Inc., Warner Music Inc., Warner Records/SIRE Ventures LLC, WEA

International Inc., Warner Chappell Music, Inc., Warner-Tamerlane Publishing Corp., W

Chappell Music Corp. d/b/a WC Music Corp., W.C.M. Music Corp., Unichappell Music Inc.,

Rightsong Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., and Chappell & Co. Inc.

(collectively, the “Warner Plaintiffs”); and Plaintiffs Sony Music Entertainment, Arista Music,

Arista Records LLC, LaFace Records LLC, Provident Label Group, LLC, Sony Music
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    On March 18, 2020, per the Court’s Order (ECF 141), Charter answered Plaintiffs’ contributory
    liability claim, asserted affirmative defenses thereto, and brought two counterclaims (ECF 147).
    Charter hereby amends those pleadings and answers the entirety of Plaintiffs’ First Amended
    Complaint, asserts affirmative defenses thereto, and brings four counterclaims.


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  Entertainment US Latin, The Century Family, Inc., Volcano Entertainment III, LLC, and Zomba

  Recordings LLC (collectively, the “Sony Music Plaintiffs”); and Plaintiffs Sony/ATV Music

  Publishing LLC, EMI Al Gallico Music Corp., EMI Algee Music Corp., EMI April Music Inc.,

  EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium Music Publishing Inc.

  d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and d/b/a EMI Longitude

  Music, EMI Entertainment World Inc. d/b/a EMI Foray Music, EMI Jemaxal Music Inc., EMI

  Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc., EMI Unart Catalog Inc., EMI

  U Catalog Inc., Famous Music LLC, Jobete Music Co. Inc., Stone Agate Music, Screen

  Gems-EMI Music Inc., and Stone Diamond Music Corp. (collectively, the “Sony/ATV and EMI

  Plaintiffs”); and UMG Recordings, Inc., Capitol Records, LLC, Universal Music Corp.,

  Universal Music – MGB NA LLC, Universal Music Publishing Inc., Universal Music Publishing

  AB, Universal Music Publishing Limited, Universal Music Publishing MGB Limited, Universal

  Music – Z Tunes LLC, Universal/Island Music Limited, Universal/MCA Music Limited,

  Universal/MCA Music Publishing Pty. Limited, Music Corporation of America, Inc., Musik

  Edition Discoton GmbH, PolyGram Publishing, Inc., and Songs of Universal, Inc. (collectively,

  the “Universal Plaintiffs,” and with the Warner Plaintiffs, Sony Music Plaintiffs, and Sony/ATV

  and EMI Plaintiffs, the “Plaintiffs”), dated February 14, 2020 (the “First Amended Complaint”),

  as follows:

                                         INTRODUCTION12

            1.     Plaintiffs are record companies that produce, manufacture, distribute, sell, and

  license commercial sound recordings, and music publishers that acquire, license, and otherwise

  exploit musical compositions, both in the United States and internationally. Through their
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       For the Court’s convenience, Defendant reproduced the headings from the First Amended
       Complaint. Defendant does not thereby concede, affirm, or otherwise adopt any of those
       headings.
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  enormous investments of money, time, and exceptional creative efforts, Plaintiffs and their

  representative recording artists and songwriters have developed and marketed some of the

  world’s most famous and popular music. Plaintiffs own and/or control exclusive rights to the

  copyrights to some of the most famous sound recordings performed by classic artists and

  contemporary superstars, as well as the copyrights to large catalogs of iconic musical

  compositions and modern hit songs. Their investments and creative efforts have shaped the

  musical landscape as we know it, both in the United States and around the world.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 1 of the First Amended Complaint and on that basis denies those

  allegations.

         2.      Charter is one of the largest Internet service providers (“ISPs”) in the country. It

  markets and sells high-speed Internet services to consumers nationwide. Through the provision

  of those services, Charter has knowingly contributed to, and reaped substantial profits from,

  massive copyright infringement committed by thousands of its subscribers, causing great harm to

  Plaintiffs, their recording artists and songwriters, and others whose livelihoods depend upon the

  lawful acquisition of music. Charter’s contribution to its subscribers’ infringement is both willful

  and extensive, and renders Charter equally liable. Indeed, for years, Charter deliberately refused

  to take reasonable measures to curb customers from using its Internet services to infringe on

  others’ copyrights, including Plaintiffs’ copyrights—even after Charter became aware of

  particular customers engaging in specific, repeated acts of infringement. Plaintiffs’

  representatives (as well as others) sent hundreds of thousands of statutory infringement notices to

  Charter, under penalty of perjury. Those notices advised Charter of its subscribers’ blatant and

  systematic use of Charter’s Internet service to illegally download, copy, and distribute Plaintiffs’


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  copyrighted music through BitTorrent and other online file-sharing services. Rather than working

  with Plaintiffs to curb this massive infringement, Charter did nothing, choosing to prioritize its

  own profits over its legal obligations.

         Answer:         Defendant admits that Charter operates as an Internet service provider, and

  markets and sells high-speed Internet services to consumers. Defendant admits that it received

  notices of alleged infringement from third parties, but lacks knowledge or information as to

  whether and which of these notices were sent on behalf of which Plaintiffs, whether such notices

  complied with statutory requirements, and whether they were made under penalty of perjury, and

  on that basis, Charter denies those allegations. Defendant denies the remaining allegations in

  Paragraph 2 of the First Amended Complaint.

         3.      It is well-established law that a party may not assist someone it knows is engaging

  in copyright infringement. Further, when a party has a direct financial interest in the infringing

  activity, and the right and practical ability to stop or limit it, that party must act. Ignoring and

  flouting those basic responsibilities, Charter deliberately turned a blind eye to its subscribers’

  infringement. Charter failed to terminate or otherwise take meaningful action against the

  accounts of repeat infringers of which it was aware. Despite its professed commitment to taking

  action against repeat offenders, Charter routinely thumbed its nose at Plaintiffs by continuing to

  provide service to subscribers it knew to be serially infringing copyrighted sound recordings and

  musical compositions. In reality, Charter operated its service as an attractive tool and safe haven

  for infringement.

         Answer:         The first two sentences of Paragraph 3 of the First Amended Complaint

  constitute Plaintiffs’ characterization of copyright law and legal conclusions to which Defendant




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  is not obligated to respond. Defendant denies the remaining allegations of Paragraph 3 of the

  Complaint.

            4.      Charter has derived an obvious and direct financial benefit from its customers’

  infringement. The unlimited ability to download and distribute Plaintiffs’ works through

  Charter’s service has served as a draw for Charter to attract, retain, and charge higher fees to

  subscribers. By failing to terminate the accounts of specific recidivist infringers known to

  Charter, Charter obtained a direct financial benefit from its subscribers’ continuing infringing

  activity. That financial benefit included improper revenue that it would not have received had it

  appropriately shut down those accounts. Charter decided not to terminate infringers because it

  wanted to maintain the revenue that is generated from their accounts.

            Answer:        Defendant denies the allegations in Paragraph 4 of the First Amended

  Complaint.

            5.      The infringing activity of Charter’s subscribers that is the subject of Plaintiffs’

  claims, and for which Charter is secondarily liable, occurred after Charter received multiple

  notices of each subscriber’s infringing activity. Specifically, Plaintiffs seek relief for claims that

  accrued between March 24, 2013 and May 17, 2016 for infringement of works by Charter

  subscribers after those particular subscribers were identified to Charter in multiple infringement

  notices.23 These claims have been preserved through tolling agreements entered into with Charter

  in March, April, and June 2016, as applicable.




  23
       Specifically, the Universal Plaintiffs seek relief for claims that accrued on or after March 24,
       2013; the Sony Music Plaintiffs and Warner Plaintiffs seek relief for claims that accrued on
       or
       after April 18, 2013; and the Sony/ATV and EMI Plaintiffs seek relief for claims that accrued
       on
       or after June 15, 2013.
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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations of Paragraph 5 of the First Amended Complaint regarding the nature of Plaintiffs’

  claims, but denies that Plaintiffs are entitled to any relief, including for any period of time.

  Defendant admits that theyit entered into tolling agreements with certain of the Plaintiffs, but

  denies that those tolling agreements preserved all of Plaintiffs’ claims. Defendant denies the

  remaining allegations of Paragraph 5 of the First Amended Complaint.

                                        NATURE OF ACTION

          6.      This is a civil action in which Plaintiffs seek damages for copyright infringement

  under the Copyright Act, 17 U.S.C. § 101, et seq.

          Answer:        Defendant admits that Plaintiffs have filed this action under the copyright

  laws of the United States, but denies that there has been any wrongdoing.

          7.      This Court has original subject matter jurisdiction over Plaintiffs’ copyright

  infringement claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          Answer:        Defendant admits that this Court has subject matter jurisdiction over

  Plaintiffs’ claims.

          8.      This Court has personal jurisdiction over Charter pursuant to Colo. Rev. Stat. §

  13- 1-124. Charter continuously and systematically transacts business in Colorado and maintains

  sizable operations in the state—employing thousands of people, and providing an array of

  services to customers, within the state. In addition to its physical presence in the state, Charter

  has deliberately exploited the Colorado market, establishing significant network management

  operations in this district, selling its services to over 100,000 Colorado customers, and

  advertising its “blazing-fast Internet speeds” to potential subscribers in the state.

          Answer:        Defendant admits that Charter conducts business in Colorado, has

  employees in Colorado, provides services to customers in Colorado, and maintains network
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  management operations in Colorado. Defendant denies the remaining allegations in Paragraph 8

  of the First Amended Complaint.

         9.      Moreover, Charter has engaged in substantial activities purposefully directed at

  Colorado from which Plaintiffs’ claims arise, including providing Internet service to Colorado

  subscribers who used Charter’s network to directly and repeatedly infringe Plaintiffs’ copyrights;

  continuing to provide Internet service to, and failing to suspend or terminate the accounts of,

  Colorado customers, even after receiving multiple notices of their infringing activity; advertising

  its high-speed Internet services in Colorado to serve as a draw for subscribers who sought faster

  download speeds to facilitate their direct and repeated infringements; employing individuals

  within Colorado with responsibility for overseeing its network and subscriber use policies; and/or

  responding or failing to respond to repeated notices of copyright infringement directed to

  infringing subscribers located in the state.

         Answer:         Defendant admits that it conducts business in Colorado. Defendant denies

  that there has been any unlawful conduct giving rise to the claims in this case. Defendant denies

  the remaining allegations in Paragraph 9 of the First Amended Complaint.

         10.     Much of the misconduct alleged in this Complaint arises directly from Charter’s

  forum-directed activities—specifically, repeated acts of infringement by specific subscribers

  using Charter’s network; Charter’s awareness of those activities; Charter’s receipt of and failure

  to act in response to Plaintiffs’ notices of infringement; and Charter’s failure to take reasonable

  measures to terminate repeat infringers.

         Answer:         Defendant denies that there has been any unlawful conduct giving rise to

  the claims in this case. Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 10 regarding the residence or location of any alleged infringers, and on


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  that basis denies the allegation. Defendant denies the remaining allegations in Paragraph 10 of

  the First Amended Complaint.

         11.     Many of the acts complained of herein occurred in Colorado and in this judicial

  district. For example, a number of egregious repeat infringers who are Charter subscribers reside

  in and infringed Plaintiffs’ rights in Colorado and this judicial district, using Internet service

  provided by Charter in the state. Indeed, Plaintiffs have identified over a hundred Charter

  subscribers who appear to reside in Colorado and who have repeatedly infringed Plaintiffs’

  copyrighted works. For example, one Charter subscriber believed to be located in Grand

  Junction, Colorado, with the IP address 72.175.144.149 at the time of the infringing conduct, was

  identified in infringement notices 63 times between June 26, 2014 and September 28, 2014.

  Another Charter subscriber believed to be located in Grand Junction, Colorado, with the IP

  address 98.127.105.135 at the time of infringement, was identified in infringement notices 54

  times between May 29, 2014 and March 29, 2015. Yet another Charter subscriber believed to be

  located in Montrose, Colorado, with the IP address 184.167.217.19 at the time of infringement,

  was identified in infringement notices 53 times between September 11, 2014 and January 12,

  2015. Still another Charter subscriber believed to be located in Canon City, Colorado, with the IP

  address 72.174.161.193 at the time of infringement, was identified in infringement notices 50

  times between October 1, 2014 and March 29, 2015.

         Answer:         Defendant denies that there has been any unlawful conduct giving rise to

  the claims in this case. Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 11 regarding the residence, location or identity of any alleged infringers,

  and on that basis denies the allegation. Defendant denies the remaining allegations in Paragraph

  11.


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         12.      Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c), and 1400(a).

  A substantial part of the acts of infringement, and other events and omissions complained of

  herein, occur or have occurred in this district, and this is a district in which Charter resides or

  may be found.

         Answer:         Defendant denies that there has been any unlawful conduct giving rise to

  the claims in this case. Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 12 regarding the residence or location of any alleged infringers, and on

  that basis denies the allegation. Paragraph 12 contains legal conclusions to which no response is

  required. To the extent that a response is required, Defendant denies the remaining allegations of

  Paragraph 12.

                      PLAINTIFFS AND THEIR COPYRIGHTED MUSIC

         13.      Plaintiffs are the copyright owners of, and/or control exclusive rights with respect

  to, millions of sound recordings (i.e., recorded music) and/or musical compositions (i.e., the

  songs embodied in sound recordings), including by some of the most prolific and well-known

  songwriters and recording artists throughout the world.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 13 of the First Amended Complaint and on that basis denies those

  allegations.

         14.      Plaintiff Warner Records Inc. (f/k/a Warner Bros. Records Inc.) (“WRI”) is a

  Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 14 of the First Amended Complaint and on that basis denies those

  allegations.
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         15.     Plaintiff Atlantic Recording Corporation (“Atlantic”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 15 of the First Amended Complaint and on that basis denies those

  allegations.

         16.     Plaintiff Bad Boy Records LLC (“Bad Boy”) is a Delaware Limited Liability

  Company with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 16 of the First Amended Complaint and on that basis denies those

  allegations.

         17.     Plaintiff Elektra Entertainment Group Inc. (“Elektra”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 17 of the First Amended Complaint and on that basis denies those

  allegations.

         18.     Plaintiff Fueled By Ramen LLC (“FBR”) is a Delaware Limited Liability

  Company with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 18 of the First Amended Complaint and on that basis denies those

  allegations.

         19.     Plaintiff Lava Records LLC (“Lava”) is a Delaware Limited Liability Company

  with its principal place of business at 1633 Broadway, New York, New York 10019.




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         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 19 of the First Amended Complaint and on that basis denies those

  allegations.

         20.     Plaintiff Maverick Recording Company (“Maverick”) is a California general

  partnership, with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

  California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 20 of the First Amended Complaint and on that basis denies those

  allegations.

         21.     Plaintiff Nonesuch Records Inc. (“Nonesuch”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 21 of the First Amended Complaint and on that basis denies those

  allegations.

         22.     Plaintiff The All Blacks U.S.A., Inc. (“The All Blacks”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 22 of the First Amended Complaint and on that basis denies those

  allegations.

         23.     Plaintiff Warner Music Inc. (“Warner Music”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.




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         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 23 of the First Amended Complaint and on that basis denies those

  allegations.

         24.     Plaintiff Warner Records/SIRE Ventures LLC (“Warner Records/SIRE”) is a

  Delaware Limited Liability Company with its principal place of business at 777 South Santa Fe

  Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 24 of the First Amended Complaint and on that basis denies those

  allegations.

         25.     Plaintiff WEA International Inc. (“WEA”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 25 of the First Amended Complaint and on that basis denies those

  allegations.

         26.     Plaintiff Sony Music Entertainment (“Sony”) is a Delaware general partnership,

  the partners of which are citizens of New York and Delaware. Sony’s headquarters and principal

  place of business are located at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 26 of the First Amended Complaint and on that basis denies those

  allegations.

         27.     Plaintiff Arista Music (“Arista Music”) is a New York partnership with its

  principal place of business at 25 Madison Avenue, New York, New York 10010.




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           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 27 of the First Amended Complaint and on that basis denies those

  allegations.

           28.   Plaintiff Arista Records LLC (“Arista Records”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 28 of the First Amended Complaint and on that basis denies those

  allegations.

           29.   Plaintiff LaFace Records LLC (“LaFace”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 29 of the First Amended Complaint and on that basis denies those

  allegations.

           30.   Plaintiff Provident Label Group, LLC (“Provident”) is a Delaware Limited

  Liability Company with its principal place of business at 741 Cool Springs Boulevard, Franklin,

  Tennessee 37067.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 30 of the First Amended Complaint and on that basis denies those

  allegations.




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           31.   Plaintiff Sony Music Entertainment US Latin (“Sony Latin”) is a Delaware

  Limited Liability Company with its principal place of business at 3390 Mary Street, Suite 220,

  Coconut Grove, Florida 33133.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 31 of the First Amended Complaint and on that basis denies those

  allegations.

           32.   Plaintiff The Century Family, Inc. (“Century”) is a California corporation with its

  principal place of business at 12706 West Washington Boulevard, Culver City, California 90066.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 32 of the First Amended Complaint and on that basis denies those

  allegations.

           33.   Plaintiff Volcano Entertainment III, LLC (“Volcano”) is a Delaware Limited

  Liability Company with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 33 of the First Amended Complaint and on that basis denies those

  allegations.

           34.   Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 34 of the First Amended Complaint and on that basis denies those

  allegations.


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           35.    Plaintiff UMG Recordings, Inc. (“UMG”) is a Delaware corporation with its

  principal place of business at 2220 Colorado Avenue, Santa Monica, California 90404.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 35 of the First Amended Complaint and on that basis denies those

  allegations.

           36.    Plaintiff Capitol Records, LLC (“Capitol Records”) is Delaware Limited Liability

  Company with its principal place of business at 1750 N. Vine Street, Los Angeles, California

  90068.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 36 of the First Amended Complaint and on that basis denies those

  allegations.

           37.    Plaintiffs WRI, Atlantic, Bad Boy, Elektra, FBR, Lava, Maverick, Nonesuch, The

  All Blacks, Warner Music, Warner Records/SIRE, WEA, Sony, Arista Music, Arista Records,

  LaFace, Provident, Sony Latin, Century, Volcano, Zomba, UMG, and Capitol Records are

  referred to herein collectively as the “Record Company Plaintiffs.”.

           Answer:       Paragraph 37 of the Complaint does not contain factual allegations to

  which Defendant is obligated to respond.

           38.    The Record Company Plaintiffs are some of the largest record companies in the

  world, engaged in the business of producing, manufacturing, distributing, selling, licensing, and

  otherwise exploiting sound recordings in the United States through various media. They invest

  substantial money, time, effort, and talent in creating, advertising, promoting, selling, and

  licensing unique and valuable sound recordings embodying the performances of their exclusive

  recording artists.


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         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 38 of the First Amended Complaint and on that basis denies those

  allegations.

         39.     Plaintiff Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.)

  (“Warner Chappell”) is a Delaware corporation with its principal place of business at 777 South

  Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 39 of the First Amended Complaint and on that basis denies those

  allegations.

         40.     Plaintiff Warner-Tamerlane Publishing Corp. (“Warner-Tamerlane”) is a

  California corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 40 of the First Amended Complaint and on that basis denies those

  allegations.

         41.     Plaintiff W Chappell Music Corp. d/b/a WC Music Corp. (f/k/a WB Music Corp).

  (“WC Music”) is a California corporation with its principal place of business at 777 South Santa

  Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 41 of the First Amended Complaint and on that basis denies those

  allegations.




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         42.     Plaintiff W.C.M. Music Corp. (f/k/a W.B.M. Music Corp.) (“W.C.M.”) is a

  Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 42 of the First Amended Complaint and on that basis denies those

  allegations.

         43.     Plaintiff Unichappell Music Inc. (“Unichappell”) is a Delaware corporation with

  its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 43 of the First Amended Complaint and on that basis denies those

  allegations.

         44.     Plaintiff Rightsong Music Inc. (“Rightsong Music”) is a Delaware corporation

  with its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California

  90021. Plaintiff Cotillion Music, Inc. (“Cotillion”) is a Delaware corporation with its principal

  place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 44 of the First Amended Complaint and on that basis denies those

  allegations.

         45.     Plaintiff Intersong U.S.A., Inc. (“Intersong”) is a Delaware corporation with its

  principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 45 of the First Amended Complaint and on that basis denies those

  allegations.


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         46.     Chappell & Co. Inc. (“Chappell”) is a Delaware corporation with its principal

  place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 46 of the First Amended Complaint and on that basis denies those

  allegations.

         47.     Plaintiff Sony/ATV Music Publishing LLC (“Sony/ATV”) is a Delaware Limited

  Liability Company with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 47 of the First Amended Complaint and on that basis denies those

  allegations.

         48.     Plaintiff EMI Al Gallico Music Corp. (“EMI Al Gallico”), an affiliate of

  Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

  New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 48 of the First Amended Complaint and on that basis denies those

  allegations.

         49.     Plaintiff EMI Algee Music Corp. (“EMI Algee”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 49 of the First Amended Complaint and on that basis denies those

  allegations.


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         50.     Plaintiff EMI April Music Inc. (“EMI April”), an affiliate of Sony/ATV, is a

  Connecticut corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 50 of the First Amended Complaint and on that basis denies those

  allegations.

         51.     Plaintiff EMI Blackwood Music Inc. (“EMI Blackwood”), an affiliate of

  Sony/ATV, is a Connecticut corporation with its principal place of business at 25 Madison

  Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 51 of the First Amended Complaint and on that basis denies those

  allegations.

         52.     Plaintiff Colgems-EMI Music Inc. (“EMI Colgems”), an affiliate of Sony/ATV, is

  a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 52 of the First Amended Complaint and on that basis denies those

  allegations.

         53.     Plaintiff EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music

  (“EMI Full Keel”), an affiliate of Sony/ATV, is a New York corporation with its principal place

  of business at 25 Madison Avenue, New York, New York 10010.




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         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 53 of the First Amended Complaint and on that basis denies those

  allegations.

         54.     Plaintiff EMI Consortium Songs, Inc., individually and d/b/a EMI Longitude

  Music (“EMI Longitude”), an affiliate of Sony/ATV, is a New York corporation with its

  principal place of business at 25 Madison Avenue, New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 54 of the First Amended Complaint and on that basis denies those

  allegations.

         55.     EMI Entertainment World Inc. d/b/a EMI Foray Music (“EMI Entertainment”), an

  affiliate of Sony/ATV, is a Delaware corporation with its principal place of business at 25

  Madison Avenue, New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 55 of the First Amended Complaint and on that basis denies those

  allegations.

         56.     EMI Jemaxal Music Inc. (“EMI Jemaxal”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 56 of the First Amended Complaint and on that basis denies those

  allegations.




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         57.     Plaintiff EMI Feist Catalog Inc. (“EMI Feist”), an affiliate of Sony/ATV, is a New

  York corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 57 of the First Amended Complaint and on that basis denies those

  allegations.

         58.     Plaintiff EMI Miller Catalog Inc. (“EMI Miller”), an affiliate of Sony/ATV, is a

  New York corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 58 of the First Amended Complaint and on that basis denies those

  allegations.

         59.     Plaintiff EMI Mills Music, Inc. (“EMI Mills”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 59 of the First Amended Complaint and on that basis denies those

  allegations.

         60.     Plaintiff EMI Unart Catalog Inc. (“EMI Unart”), an affiliate of Sony/ATV, is a

  New York corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.




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           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 60 of the First Amended Complaint and on that basis denies those

  allegations.

           61.   Plaintiff EMI U Catalog Inc. (“EMI U”), an affiliate of Sony/ATV, is a New York

  corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 61 of the First Amended Complaint and on that basis denies those

  allegations.

           62.   Plaintiff Famous Music LLC (“Famous Music”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 62 of the First Amended Complaint and on that basis denies those

  allegations.

           63.   Plaintiff Jobete Music Co. Inc. (“Jobete”), an affiliate of Sony/ATV, is a

  Michigan corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010. Plaintiff Stone Agate Music (“Stone Agate”) is a division of Jobete.

           Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 64 of the First Amended Complaint and on that basis denies those

  allegations.




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         64.     Plaintiff Screen Gems-EMI Music Inc. (“Gems-EMI”), an affiliate of Sony/ATV,

  is a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 64 of the First Amended Complaint and on that basis denies those

  allegations.

         65.     Plaintiff Stone Diamond Music Corp. (“Stone”), an affiliate of Sony/ATV, is a

  Michigan corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 65 of the First Amended Complaint and on that basis denies those

  allegations.

         66.     Plaintiff Universal Music Corp. (“UMC”) is a California corporation with its

  principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 66 of the First Amended Complaint and on that basis denies those

  allegations.

         67.     Plaintiff Universal Music – MGB NA LLC (“MGB”) is a California Limited

  Liability Company with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 67 of the First Amended Complaint and on that basis denies those

  allegations.


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         68.     Plaintiff Universal Music Publishing Inc. (“Universal Music Publishing”) is a

  California corporation with its principal place of business at 2100 Colorado Avenue, Santa

  Monica, California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 68 of the First Amended Complaint and on that basis denies those

  allegations.

         69.     Plaintiff Universal Music Publishing AB (“AB”) is a company organized under

  the laws of Sweden.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 69 of the First Amended Complaint and on that basis denies those

  allegations.

         70.     Plaintiff Universal Music Publishing Limited (“Publishing Limited”) is a

  company incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 70 of the First Amended Complaint and on that basis denies those

  allegations.

         71.     Plaintiff Universal Music Publishing MGB Limited (“MGB Limited”) is a

  company incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 71 of the First Amended Complaint and on that basis denies those

  allegations.

         72.     Plaintiff Universal Music – Z Tunes LLC (“Z Tunes”) is a California corporation

  with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.


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         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 72 of the First Amended Complaint and on that basis denies those

  allegations.

         73.     Plaintiff Universal/Island Music Limited (“Island”) is a company incorporated

  under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 73 of the First Amended Complaint and on that basis denies those

  allegations.

         74.     Plaintiff Universal/MCA Music Limited (“MCA Limited”) is a company

  incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 74 of the First Amended Complaint and on that basis denies those

  allegations.

         75.     Plaintiff Universal/MCA Music Publishing Pty. Limited (“MCA Publishing

  Limited”) is a company organized under the laws of the Australia.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 75 of the First Amended Complaint and on that basis denies those

  allegations.

         76.     Plaintiff Music Corporation of America, Inc. (“Music Corp.”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.




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         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 76 of the First Amended Complaint and on that basis denies those

  allegations.

         77.     Plaintiff Musik Edition Discoton GmbH (“Musik Edition”) is a company

  incorporated under the laws of Germany.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 77 of the First Amended Complaint and on that basis denies those

  allegations.

         78.     Plaintiff Polygram Publishing, Inc. (“Polygram Publishing”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 78 of the First Amended Complaint and on that basis denies those

  allegations.

         79.     Plaintiff Songs of Universal, Inc. (“Songs of Universal”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 79 of the First Amended Complaint and on that basis denies those

  allegations.

         80.     Plaintiffs   Warner   Chappell,    Warner-Tamerlane,   WC     Music,   W.C.M.,

  Unichappell, Rightsong Music, Cotillion, Intersong, Chappell, Sony/ATV, EMI Al Gallico, EMI

  Algee, EMI April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI Longitude, EMI


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  Entertainment, EMI Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI Unart, EMI U, Famous

  Music, Jobete, Stone Agate, Gems-EMI, Stone, UMC, MGB, Universal Music Publishing, AB,

  Publishing Limited, MGB Limited, Z Tunes, Island, MCA Limited, MCA Publishing Limited,

  Music Corp., Musik Edition, Polygram Publishing, and Songs of Universal are referred to herein

  collectively as the “Music Publisher Plaintiffs.”

         Answer:          Paragraph 80 of the First Amended Complaint does not contain factual

  allegations to which Defendant is obligated to respond.

         81.     The Music Publisher Plaintiffs are leading music publishers engaged in the

  business of acquiring, owning, publishing, licensing, and otherwise exploiting copyrighted

  musical compositions. Each invests substantial money, time, effort, and talent to acquire,

  administer, publish, license, and otherwise exploit such copyrights, on its own behalf and on

  behalf of songwriters and others who have assigned exclusive copyright interests to the Music

  Publisher Plaintiffs.

         Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 81 of the First Amended Complaint and on that basis denies those

  allegations.

         82.     Plaintiffs own and/or control in whole or in part the copyrights and/or exclusive

  rights in innumerable popular sound recordings and musical compositions, including the sound

  recordings listed on Exhibit A and musical compositions listed on Exhibit B, both of which are

  illustrative and non-exhaustive. All of the sound recordings and musical compositions listed on

  Exhibits A and B have been registered with the U.S. Copyright Office.

         Answer:          Defendant admits that Exhibits A and B to the Complaint purport to list

  the works alleged by Plaintiffs in this action. Defendant lacks knowledge or information


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  sufficient to admit or deny the remaining allegations of Paragraph 82 of the First Amended

  Complaint and on that basis denies those allegations.

                               CHARTER AND ITS ACTIVITIES

         83.     Defendant Charter Communications, Inc. is a Delaware corporation, with its

  principal place of business at 400 Atlantic Street, Stamford, Connecticut 06901. Charter also

  maintains substantial operations and offices in Colorado, including in Greenwood Village,

  Colorado.

         Answer:        Defendant admits that Charter Communications, Inc. is a Delaware

  corporation but denies the remaining allegations in the first sentence in Paragraph 83 of the

  Complaint. Defendant admits that Charter Communications, Inc. operates an office in Colorado

  but denies the remaining allegations in Paragraph 83 of the Complaint.

         84.     Charter is one of the largest ISPs in the country. In 2015, Charter had more than 5

  million subscribers and today has more than 22 million subscribers. At all pertinent times,

  Charter’s customers, including those in Colorado, have paid substantial subscription fees for

  access to its high-speed Internet network, with Charter offering a tiered pricing structure whereby

  a subscriber can have even higher downloading speeds for a higher monthly fee.

         Answer:        Defendant admits that Charter operates as an Internet service provider.

  Defendant admits that, during the time period relevant to Plaintiffs’ allegations, Charter offered

  various products at different price points. Defendant admits that during 2015, it had

  approximately 6.7 million subscribers. Defendant admits that as of December 2019, it had

  approximately 29.2 subscribers. Defendant denies the remaining allegations in Paragraph 84 of

  the First Amended Complaint.

         85.     Many of Charter’s customers are motivated to subscribe to Charter’s service

  because it allows them to download music and other copyrighted content—including
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  unauthorized content—as efficiently as possible. Accordingly, in its consumer marketing

  material, including material directed to Colorado customers, Charter has touted how its service

  enables subscribers to download and upload large amounts of content at “blazing-fast Internet

  speeds.” Charter has told existing and prospective customers that its high-speed service enables

  subscribers to “download just about anything instantly,” and subscribers have the ability to

  “download 8 songs in 3 seconds.” Charter has further told subscribers that its Internet service

  “has the speed you need for everything you do online.” In exchange for this service, Charter has

  charged its customers monthly fees ranging in price based on the speed of service.

          Answer:         Defendant admits that, during the time period relevant to Plaintiffs’

  allegations, Charter offered various products at different price points. Defendant denies the

  remaining allegations in Paragraph 85 of the First Amended Complaint.

          86.     At the same time, Charter has consistently and actively engaged in network

  management practices to suit its own purposes. This includes monitoring for, and taking action

  against unwanted activity that might otherwise interfere with its provision of Internet service to

  its subscribers. But Charter has gone out of its way not to take action against subscribers

  engaging in repeated copyright infringement, for its own financial benefit and at the expense of

  the underlying owners and controllers of copyright interests, including Plaintiffs, ultimately

  forcing Plaintiffs to bring this litigation.

          Answer:         Defendant denies the allegations in Paragraph 86 of the First Amended

  Complaint.

          87.     At all pertinent times, Charter knew that its subscribers routinely used its

  networks for illegally downloading and uploading copyrighted works, especially music. As

  described below, Plaintiffs repeatedly notified Charter that many of its subscribers were actively


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  utilizing its service to infringe their works. Those notices gave Charter the specific identities of

  its infringing subscribers, referred to by their unique Internet Protocol (or “IP”) addresses. Yet

  Charter persistently turned a blind eye to the massive infringement of Plaintiffs’ works occurring

  over its network. Charter condoned the illegal activity because it was popular with subscribers

  and acted as a draw to attract and retain new and existing subscribers. Charter’s customers, in

  turn, purchased more bandwidth and continued using Charter’s services to infringe Plaintiffs’

  copyrights. Charter undoubtedly recognized that if it terminated or otherwise prevented repeat

  infringer subscribers from using its service to infringe, or made it less attractive for such use,

  Charter would enroll fewer new subscribers, lose existing subscribers, and ultimately lose

  revenue. For those account holders and subscribers who wanted to download files illegally at

  faster speeds, Charter obliged them in exchange for higher rates. In other words, the greater the

  bandwidth its subscribers required for pirating content, the more money Charter made.

         Answer:         Defendant denies the allegations in Paragraph 87 of the First Amended

  Complaint.

                            THE GLOBAL P2P PIRACY PROBLEM

                                         General Landscape

         88.     While the digital age has brought many benefits, one notable exception is its

  facilitation of unprecedented online piracy of music and other copyrighted works. As the

  Supreme Court has recognized, the level of copyright infringement on the Internet is

  “staggering.” Metro- Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 923 (2005).

         Answer:         Defendant admits that Paragraph 88 includes an accurate one-word quote

  from the Supreme Court of the United States, but Defendant denies the allegations in Paragraph

  88 of the Complaint that reflect the characterization of the Supreme Court’s opinion on the basis



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  that the opinion of the Supreme Court speaks for itself. Defendant denies the remaining

  allegations in Paragraph 88 of the First Amended Complaint.

         89.     Use of peer-to-peer (“P2P”) distribution systems has dominated unauthorized

  downloading and distribution of copyrighted music. P2P is a generic term used to refer to a

  decentralized network of users whereby each Internet-connected participant (i.e., a “peer” or a

  “node”) can act as both a supplier and consumer of content files. Early P2P services, such as

  Napster and KaZaA, have been replaced by even more robust and efficient systems, most notably

  a protocol called “BitTorrent.” The online piracy committed via BitTorrent is stunning in nature,

  speed, and scope. Utilizing a BitTorrent client—essentially a tool that manages the uploading and

  downloading of files through BitTorrent technology—persons connected to the Internet can

  locate, access, and download copyrighted content from other peers in the blink of an eye. They

  download copyrighted music from other network users, usually total strangers, and end up with

  complete digital copies of any music they desire—including entire catalogues of music—without

  payment to copyright owners or creators.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 89 of the First Amended Complaint, and on that basis denies those

  allegations.

         90.     BitTorrent is uniquely efficient in the way it facilitates illegal file transfers. On

  earlier P2P networks, a user wanting to download a music file would have to locate another

  Internet-connected peer with the desired file and download the entire file from that peer.

  BitTorrent facilitates much faster downloading by breaking each file into pieces, allowing users

  to download different pieces of content simultaneously from different peers. At the same time,

  the system allows users to begin disseminating the copyrighted content before the complete file


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  has even downloaded. This means that, at any given time, each user connected to the Internet can

  be both downloading and uploading different pieces of a file from, and to, multiple other users.

  Once a user has downloaded all the pieces, the file is automatically reassembled into its complete

  form and available for playback by the user. Needless to say, acquiring copyrighted music in this

  fashion eliminates the need to obtain it through legitimate channels and eliminates the

  requirement of paying a fee.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 90 of the First Amended Complaint, and on that basis denies those

  allegations.

         91.     Not surprisingly, then, during the time period in which the claims in this action

  arose, BitTorrent was used widely as a vehicle to infringe content online. In a report from

  January 2011, a survey conducted by the firm Envisional estimated that 11.4 percent of all

  Internet traffic involved the unauthorized distribution of non-pornographic copyrighted content

  via BitTorrent. In a report from September 24, 2013, another company, NetNames, estimated that

  99.97 percent of non-pornographic files distributed via BitTorrent systems infringe copyrights.

  To illustrate, in one well-publicized incident in 2015, millions of individual BitTorrent users

  downloaded an episode of HBO’s “Game of Thrones” within just 24 hours of its airing.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first or third sentences in Paragraph 91 of the First Amended Complaint, and on

  that basis denies those allegations. Defendant denies the remaining allegations in Paragraph 91 of

  the First Amended Complaint, and where the allegations in Paragraph 91 refer to reports,

  Defendant refers the Court to those reports for an accurate rendition of their contents.

            Plaintiffs’ Enforcement Activities and Charter’s Efforts to Thwart Them


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         92.     Over the past two decades, as P2P piracy became widespread, music and other

  copyright owners have employed litigation and other means to attempt to curtail the massive theft

  of their copyrighted works. Charter has been keenly aware of those efforts and the use of its

  network for P2P piracy, including the specific identities of subscribers using its network to

  infringe Plaintiffs’ works.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence of Paragraph 92 of the First Amended Complaint, and on that

  basis denies those allegations. Defendant denies the remaining allegations in Paragraph 92 of the

  First Amended Complaint.

         93.     Indeed, Charter knew subscribers were using its network for such infringing

  activities as early as 2003. A number of record companies, including some of the Record

  Company Plaintiffs, initiated a multi-year effort to enforce their copyrights against persons using

  P2P systems to infringe copyrighted musical works directly. Because the copyright holders could

  only determine the unique IP addresses of an ISP’s infringing subscribers, but not their actual

  identities, they served subpoenas on Charter and other ISPs to obtain the infringing subscribers’

  names and contact information. Although Charter’s customer agreements allowed it to produce

  that information, and no real doubt existed as to their customers’ underlying infringement,

  Charter vigorously opposed the subpoenas, undermining the record companies’ efforts to curb

  direct infringement activity.

         Answer:         Defendant admits that theyit received and responded to subpoenas seeking

  information regarding certain of its subscribers. Defendant denies the remaining allegations in

  Paragraph 93 of the First Amended Complaint.




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         94.     As a result, the record companies were forced to pursue the slower and more

  expensive process of filing “John Doe” lawsuits to ascertain the infringers’ identities. In those

  litigations, Charter was required to provide identifying information about infringing subscribers.

  As Charter is aware, many of those cases resulted in judgments confirming its subscribers’

  liability for copyright infringement through Charter’s Internet service, including infringement of

  works owned or exclusively controlled by Plaintiffs.

         Answer:         Defendant denies the allegations in Paragraph 94 of the First Amended

  Complaint.

         95.     Thereafter, the Record Company Plaintiffs began sending notices to Charter (and

  other ISPs) identifying additional specific instances of its subscribers’ infringement through P2P

  activities. From 2012 through 2015, Charter received hundreds of thousands of notices, provided

  under penalty of perjury, detailing specific instances of its subscribers using P2P protocols on its

  network to distribute and copy Plaintiffs’ copyrighted content unlawfully both within, and

  beyond, the Charter network.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence of Paragraph 95 of the First Amended Complaint, and on that

  basis denies those allegations.   Defendant admits that it received notices from third party, the

  RIAA, of which the only portion stated under penalty of perjury is that the RIAA was authorized

  to send the notice on behalf of its member companies in matters involving the infringement of

  their sound recordings, including enforcing their copyrights and common law rights on the

  Internet. Defendant denies the remaining allegations in Paragraph 95.

         96.     The infringement notices provided to Charter identify the unique IP address

  assigned to each user of Charter’s network, and the date and time the infringing activity was


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  detected. Only Charter, as the provider of the technology and system used to infringe, had the

  information required to match the IP address to a particular subscriber, and to contact that

  subscriber or terminate that subscriber’s service.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence in Paragraph 96 of the First Amended Complaint, and on that

  basis denies those allegations. Defendant admits that Charter generally has the ability to match an

  IP address, accompanied with the date and time, to particular subscribers, with respect to at least

  some historic accounts, but denies that Charter has the ability to determine the identity of the

  individual using the device on its service.      Defendant denies the remaining allegations in

  Paragraph 96 of the Complaint.

         97.     Plaintiffs’ infringement notices notified Charter of clear and unambiguous

  infringing activity by Charter subscribers—that is, unauthorized downloading and distribution of

  copyrighted music. Charter’s subscribers had no legal basis or justification for downloading or

  distributing digital copies of Plaintiffs’ sound recordings and musical compositions to thousands

  or millions of strangers over the Internet. Tellingly, to the extent that Charter forwarded

  Plaintiffs’ infringement notices to subscribers accused of using Charter’s network to infringe,

  those subscribers did not challenge the claims of infringement by sending counter-notices to

  Charter contesting those claims (a process that Charter outlined and made available to its users).

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the second sentence in Paragraph 97 of the Complaint, on that basis denies those

  allegations. Defendant admits that Charter generally has the ability to match an IP address,

  accompanied with the date and time, to particular subscribers, with respect to at least some

  historic accounts, but denies that Charter has the ability to determine the identity of the


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  individual using the device on its service.       Defendant denies the remaining allegations in

  Paragraph 97 of the First Amended Complaint.

         98.       Apart from attesting to the sheer volume of the infringing activity on its network,

  the infringement notices sent to Charter pointed to specific subscribers who were flagrant and

  serial infringers. The infringement notices identified tens of thousands of Charter subscribers

  engaged in blatant and repeated infringement of Plaintiffs’ copyrighted works. To cite just a few

  specific examples:

                  During a 623-day period, Charter’s subscriber with IP address 66.189.102.119
                   was identified in 220 infringement notices, which were sent on at least 184
                   separate days.

                  During a 395-day period, Charter’s subscriber with IP address 71.85.202.236 was
                   identified in 206 infringement notices, which were sent on at least 138 separate
                   days.

                  During a 547-day period, Charter’s subscriber with IP address 68.187.189.36 was
                   identified in 197 infringement notices, which were sent on at least 157 separate
                   days.

                  During a 363-day period, Charter’s subscriber with IP address 75.130.165.208
                   was identified in 189 infringement notices, which were sent on at least 123
                   separate days.

                  During a 393-day period, Charter’s subscriber with IP address 24.159.16.82 was
                   identified in 174 infringement notices, which were sent on at least 134 separate
                   days.

                  During a 304-day period, Charter’s subscriber with IP address 98.127.105.135
                   was identified in 54 infringement notices, which were sent on at least 53 separate
                   days.

  These examples and countless others amply illustrate that, rather than terminating repeat

  infringers—and losing subscription revenues—Charter simply looked the other way.

         Answer:          Defendant denies the allegations in Paragraph 98 of the First Amended

  Complaint.



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         99.     During all pertinent times, Charter had the full legal right, obligation, and

  technical ability to prevent or limit the infringements occurring on its network. Under Charter’s

  “Terms of Service/Policies,” which its subscribers agreed to as a condition of using its Internet

  service, Charter was empowered to exercise its right and ability to suspend or terminate a

  customer’s Internet access. Charter could do so for a variety of reasons, including a subscriber’s

  copyright infringement activity. Charter’s Copyright Policy expressly provided that “[i]f Charter

  receives more than one Notice of Copyright Infringement on the customer’s part, the customer

  may be deemed a ‘repeat copyright infringer . . . [and Charter] reserves the right to terminate the

  accounts of ‘repeat copyright infringers.’” (Emphasis added.)

         Answer:         Defendant admits that it maintains a Terms of Service and Acceptable Use

  Policy, and those documents speak for themselves. Charter denies the remaining allegations in

  Paragraph 99 of the First Amended Complaint.

         100.    Despite these alleged policies, and despite receiving hundreds of thousands of

  infringement notices from Plaintiffs, as well as thousands of similar notices from other copyright

  owners, Charter knowingly permitted specifically identified repeat infringers to continue to use

  its network to infringe. Rather than disconnect the Internet access of blatant repeat infringers to

  curtail their infringement, Charter knowingly continued to provide these subscribers with the

  Internet access that enabled them to continue to illegally download or distribute Plaintiffs’

  copyrighted works unabated. Charter’s provision of high-speed Internet service to known

  infringers materially contributed to these direct infringements.

         Answer:         Defendant denies the allegations in Paragraph 100 of the First Amended

  Complaint.




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         101.    Charter’s motivation for refusing to terminate or suspend the accounts of blatant

  infringing subscribers is simple: it valued corporate profits over its legal responsibilities. Charter

  did not want to lose subscriber revenue by terminating accounts of infringing subscribers.

  Retaining infringing subscribers provided a direct financial benefit to Charter. Nor did Charter

  want to risk the possibility that account terminations would make its service less attractive to

  other existing or prospective users. Moreover, Charter was simply disinterested in devoting

  sufficient resources to tracking repeat infringers, responding to infringement notices, and

  terminating accounts in appropriate circumstances. Considering only its own pecuniary gain,

  Charter ignored and turned a blind eye to flagrant, repeat violations by known specific

  subscribers using its service to infringe, thus facilitating and multiplying the harm to Plaintiffs.

  And Charter’s failure to police its infringing subscribers adequately was a draw to subscribers to

  purchase Charter’s services, so that the subscribers could then use those services to infringe

  Plaintiffs’ (and others’) copyrights. The specific infringing subscribers identified in Plaintiffs’

  notices, including the egregious infringers identified herein, knew Charter would not terminate

  their accounts despite receiving multiple notices identifying them as infringers, and they

  remained Charter subscribers to continue illegally downloading copyrighted works.

         Answer:         Defendant denies the allegations in Paragraph 101 of the First Amended

  Complaint.

         102.    The consequences of Charter’s support of and profit from infringement are

  obvious and stark. When Charter’s subscribers use Charter’s network to obtain infringing copies

  of Plaintiffs’ copyrighted works illegally, that activity undercuts the legitimate music market,

  depriving Plaintiffs and those recording artists and songwriters whose works they sell and license

  of the compensation to which they are entitled. Without such compensation, Plaintiffs, and their


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  recording artists and songwriters, have fewer resources available to invest in the further creation

  and distribution of high-quality music.

         Answer:         Defendant denies the allegations in Paragraph 102 of the First Amended

  Complaint and denies that Plaintiffs are entitled to any relief.

                                        CLAIMS FOR RELIEF

                          Count I – Contributory Copyright Infringement

         103.    Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1

  through 102 as if fully set forth herein.

         Answer:         Defendant incorporates by reference its responses to Paragraphs 1 through

  102 of the First Amended Complaint.

         104.    Charter and its subscribers do not have any authorization, permission, license, or

  consent to exploit the copyrighted sound recordings or musical compositions at issue.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 104 of the Complaint and on that basis denies those allegations.

         105.    Charter’s subscribers, using Internet access and services provided by Charter,

  have unlawfully reproduced and distributed via BitTorrent, or other P2P networks, thousands of

  sound recordings and musical compositions for which Plaintiffs are the legal or beneficial

  copyright owners or exclusive licensees. The copyrighted works infringed by Charter’s

  subscribers, which have been registered with the U.S. Copyright Office, include those listed on

  Exhibits A and B, and many others. The foregoing activity constitutes direct infringement in

  violation of 17 U.S.C. §§ 106 and 501, et seq.

         Answer:         Paragraph 95105 contains legal conclusions to which no response is

  required. Defendant admits that Exhibits A and B to the First Amended Complaint purport to list

  the works alleged by Plaintiffs in this action. Defendant lacks knowledge or information
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  sufficient to admit or deny the remaining allegations in Paragraph 105 of the Complaint and on

  that basis denies those allegations.

         106.    Charter is liable as a contributory copyright infringer for the direct infringements

  described above. Through Plaintiffs’ infringement notices and other means, Charter had

  knowledge that its network was being used for infringement of Plaintiffs’ copyrighted works on a

  massive scale, and also knew of specific subscribers engaged in such repeated and flagrant

  infringement. Nevertheless, Charter facilitated, encouraged, and materially contributed to such

  infringement by continuing to provide its network and the facilities necessary for its subscribers

  to commit repeated infringements. Charter had the means to withhold that assistance upon

  learning of specific infringing activity by specific users but failed to do so.

         Answer:         Paragraph 106 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 106

  of the First Amended Complaint.

         107.    By purposefully ignoring and turning a blind eye to its subscribers’ flagrant and

  repeated infringements, Charter knowingly caused and materially contributed to the unlawful

  reproduction and distribution of Plaintiffs’ copyrighted works, including but not limited to those

  listed on Exhibits A and B hereto, in violation of Plaintiffs’ exclusive rights under the copyright

  laws of the United States.

         Answer:         Paragraph 107 contains legal conclusions to which no response is required.

  Defendant admits that Exhibits A and B to the First Amended Complaint purport to list the

  works alleged by Plaintiffs in this action. To the extent a response is required, Defendant denies

  the allegations contained in Paragraph 107 of the First Amended Complaint.




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         108.    Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

  infringement against Charter are timely pursuant to tolling agreements.

         Answer:         Paragraph 108 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 108

  of the First Amended Complaint.

         109.    The foregoing acts of infringement by Charter have been willful, intentional, and

  purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit A

  and the musical compositions on Exhibit B represent works infringed by Charter’s subscribers

  after those particular subscribers were identified to Charter in multiple infringement notices.

         Answer:         Paragraph 109 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 109

  of the First Amended Complaint.

         110.    As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

  copyrights, Plaintiffs are entitled to statutory damages pursuant to 17 U.S.C. § 504(c), in an

  amount of up to $150,000 with respect to each work infringed, or such other amount as may be

  proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled

  to their actual damages pursuant to 17 U.S.C. § 504(b), including Charter’s profits from the

  infringements, as will be proven at trial.

         Answer:         Paragraph 110 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 110

  of the First Amended Complaint.




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         111.     Plaintiffs also are entitled to their attorneys’ fees and full costs pursuant to 17

  U.S.C. § 505.

         Answer:         Paragraph 111 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 111

  of the First Amended Complaint.

                            Count II – Vicarious Copyright Infringement

         112.     Plaintiffs repeat and re-allege each and every allegation contained in paragraphs 1

  through 111 as if fully set forth herein.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Defendant incorporates by reference its responses to Paragraphs 1

  through 111 of the First Amended Complaint.

         113.     Charter and its subscribers have no authorization, license, or other consent to

  exploit the copyrighted sound recordings or musical compositions at issue.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Defendant lacks knowledge or information sufficient to admit or

  deny the allegations in Paragraph 113 of the First Amended Complaint and on that basis denies

  those allegations.

         114.     Charter’s subscribers, using Internet access and services provided by Charter,

  have unlawfully reproduced and distributed via BitTorrent or other P2P services thousands of

  sound recordings and musical compositions of which Plaintiffs are the legal or beneficial

  copyright owners or exclusive licensees. The copyrighted works infringed by Charter’s

  subscribers, which have been registered with the U.S. Copyright Office, include those listed on
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  Exhibits A and B, and many others. The foregoing activity constitutes direct infringement in

  violation of 17 U.S.C. §§ 106 and 501, et seq.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Defendant admits that Exhibits A and B to the First Amended

  Complaint purport to list the works alleged by Plaintiffs in this action. Defendant lacks

  knowledge or information sufficient to admit or deny the remaining allegations of Paragraph 114

  of the First Amended Complaint and on that basis denies those allegations.

         115.    Charter is liable as a vicarious copyright infringer for the direct infringements

  described above. Charter has the legal and practical right and ability to supervise and control the

  infringing activities that occur through the use of its network, and at all relevant times has had a

  financial interest in, and derived direct financial benefit from, the infringing use of its network.

  Charter has derived an obvious and direct financial benefit from its customers’ infringement. The

  ability to use Charter’s high-speed Internet facilities to illegally download Plaintiffs’ copyrighted

  works has served to draw, maintain, and generate higher fees from paying subscribers to

  Charter’s service. Among other financial benefits, by failing to terminate the accounts of specific

  repeat infringers known to Charter, Charter has profited from illicit revenue through user

  subscription fees that it would not have otherwise received from repeat infringers, as well as new

  subscribers drawn to Charter’s services for the purpose of illegally downloading copyrighted

  works. The specific infringing subscribers identified in Plaintiffs’ notices, including the

  egregious infringers identified herein, knew Charter would not terminate their accounts despite

  receiving multiple notices identifying them as infringers, and they remained Charter subscribers

  to continue illegally downloading copyrighted works.


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         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 115 contains legal conclusions to which no response is

  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 115 of the First Amended Complaint.

         116.    Charter is vicariously liable for the unlawful reproduction and distribution of

  Plaintiffs’ copyrighted works, including but not limited to those listed on Exhibits A and B

  hereto, in violation of Plaintiffs’ exclusive rights under the copyright laws of the United States.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 116 contains legal conclusions to which no response is

  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 116 of the First Amended Complaint.

         117.    Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

  infringement against Charter are timely pursuant to tolling agreements.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 117 contains legal conclusions to which no response is

  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 117 of the First Amended Complaint.

         118.    The foregoing acts of infringement by Charter have been willful, intentional, and

  purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit A


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  and the musical compositions on Exhibit B are works infringed by Charter’s subscribers after

  those particular subscribers were identified to Charter in multiple prior infringement notices.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 118 contains legal conclusions to which no response is

  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 118 of the First Amended Complaint.

         119.     As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

  copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c), in an

  amount of up to $150,000 with respect to each work infringed, or such other amount as may be

  proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. §

  504(b), Plaintiffs shall be entitled to their actual damages, including Charter’s profits from the

  infringements, as will be proven at trial.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 119 contains legal conclusions to which no response is

  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 119 of the First Amended Complaint.

         120.     Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant to 17

  U.S.C. § 505.

         Answer:         Pursuant to the Federal Rules of Civil Procedure and the Court’s Order,

  dated March 4, 2020 (Dkt. No. 141), Charter is not yet required to respond to this allegation and

  reserves its rights accordingly.Paragraph 120 contains legal conclusions to which no response is


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  required. To the extent a response is required, Defendant denies the allegations contained in

  Paragraph 120 of the First Amended Complaint.

                                        PRAYER FOR RELIEF

          Plaintiffs’ Prayer for Relief contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies any allegations associated with Plaintiffs’

  Prayer for Relief and denies that Plaintiffs are entitled to any relief.

                                       JURY TRIAL DEMAND

          Defendant demands a trial by jury of all issues that are so triable.

                 FIRST AMENDED AFFIRMATIVE DEFENSES TO COUNT I

          Defendant identifies the following affirmative defenses to Count I and reserves the right

  to raise additional defenses as discovery proceeds. Defendant also reserves the right to assert

  affirmative defenses to Count II, if and when Charter is required to answer Count II. Defendant

  does not assume the burden of proof on any issue, however characterized, on which it does not

  bear that burden. Defendant reserves all affirmative defenses not stated herein under Rule 8(c) of

  the Federal Rules of Civil Procedure and any other defense at law or in equity that may now exist

  or in the future be available based upon discovery and further investigation in this case.

          1.      The Complaint, and each cause of action within it, fails to state facts sufficient to

                  constitute a cause of action.

          2.      The statute of limitations bars Plaintiffs’ claims to the extent Plaintiffs allege

                  infringements that accrued outside the three year limitations period, including any

                  applicable tolling of the limitations period.

          3.      Plaintiffs’ claims are barred by their failure to join indispensable parties.,

  including pursuant to the Court’s April 20, 2020 Order (ECF 163).



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        1.    4. Plaintiffs’ claims are barred or its damages are limited because any

              infringement was innocent and was not willful.

        5.    Plaintiffs’ claims based upon secondary liability are barred because Plaintiffs

              cannot establish primary liability.

        6.    Plaintiffs’ claims based on contributory liability are barred because Defendant did

              not have the requisite knowledge of the alleged primary infringement and did not

              cause, encourage, or induce the alleged primary infringement.

        7.    Plaintiffs’ claims based on contributory liability are barred because Defendant did

              not materially contribute to the alleged primary infringement.

        2     8. Plaintiffs’ claims are barred because Defendant’s ISP service has substantial

              non- infringing uses.

        3     9. Plaintiffs’ claims are barred by the doctrine of copyright misuse.

        4.    10. Plaintiffs’ failure to mitigate damages bars their claims or limits their

              recovery.

        5     11. The doctrine of unclean hands bars Plaintiffs’ claims.

        12.   The doctrines of waiver and estoppel bar Plaintiffs’ claims.

        13.   Plaintiffs’ claims are barred to the extent they do not own copyrights in the works

              underlying their claims.

        14.   The Court lacks subject matter jurisdiction over claims that depend upon works

              for which Plaintiffs have not obtained copyright registrations.

        15.   To the extent that Plaintiffs or their predecessors did not register copyrights before

              alleged infringements or within three months of first publication of published




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                 works, the failure to register timely bars Plaintiffs’ claims for statutory damages

                 and attorneys’ fees.

         6.      16. To the extent that Plaintiffs rely upon copyright registrations that rest upon

                 misstatements or fraud, those misstatements or fraud bar Plaintiffs’ claims.

         7       17. To the extent that Plaintiffs failed to comply with renewal, notice, and

                 registration requirements and/or other formalities, Plaintiffs’ claim are barred.

         18.     Plaintiffs’ claims are barred because the statutory damages sought are

                 unconstitutionally excessive and disproportionate to any actual damages that may

                 be sustained, in violation of the Due Process clause of the U.S. Constitution.

         19.     Application of the Copyright Act and its remedies to the conduct of Defendant

                 and their customers as Plaintiffs request would violate due process.

         20.     Plaintiffs’ claims are barred by the First Amendment to the United States

                 Constitution.

  8.             21. To the extent that Plaintiffs can establish any underlying direct or secondary

                 infringement, Defendant’s liability and Plaintiffs’ remedies are limited because

                 Defendant qualifies for “safe harbor” under the Digital Millennium Copyright Act

                 (“DMCA”) 17 U.S.C. § 512(a).

                             FIRST AMENDED COUNTERCLAIMS

         Defendant Charter Communications, Inc. (“Charter” or “Defendant”), by and through its

  counsel, hereby asserts counterclaims to Count I of Plaintiffs’ First Amended Complaint against

  Plaintiffs as follows:

  I.     Introduction

         1.      Charter is an Internet service provider (“ISP”) that provides its customers access

  to the Internet. As part of its ISP services, Charter does not store its subscribers’ content on its
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  servers. Charter does not host websites that index infringing files. Charter does not create or

  distribute peer-to-peer file-sharing software or other file-sharing software. Nevertheless,

  Plaintiffs seek to impose secondary liability on Charter for alleged copyright infringement by its

  subscribers, in an effort to create a substantial new set of liabilities and burdens for ISPs.

            2.    This Court has original subject matter jurisdiction over Charter’s counterclaims

  pursuant to 28 U.S.C. §§ 1331, 1367, and 1338(a).

  II.       Factual Allegations

            A.    Charter’s Business

            3.    Charter is one of the largest communications companies in the country, offering a

  variety of services, including cable, telephone, and Internet access services.

            4.    Charter provides Internet service to both residential subscribers and businesses. Its

  high-speed Internet service provides some twenty nine29 million U.S. customers with Internet

  connections across 41 states.

            5.    As an ISP, Charter provides its customers with a gateway to the Internet, which

  has become virtually indispensable to functioning in the modern world.

            6.    The Internet provides access to a host of services, some of them critical.

  Individuals rely on Internet access to obtain services in the areas of healthcare, employment,

  education, banking, commerce, social interaction, news and entertainment, and many others.

            7.    As the Supreme Court recently emphasized in the case of Packingham v. North

  Carolina, for many people the Internet provides “the principal sources for knowing current

  events, checking ads for employment, speaking and listening in the modern public square, and

  otherwise exploring the vast realms of human thought and knowledge.” 137 S. Ct. 1730, 1737

  (2017).


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         8.      The critical importance of the Internet has been highlighted in the current

  COVID-19 global pandemic. With much of the country currently under some form of shelter in

  place directive or order, hundreds of thousands of people across the country are working or

  attending classes from home and relying on high speed internet access to make that possible. To

  ease the strain in this challenging time, Charter is offering free Spectrum broadband internet and

  Wi-Fi access for 60 days to households with K-12 and/or college students who do not already

  have a Spectrum broadband subscription. Charter is also opening its Wi-Fi hotspots across its

  footprint for public use.

         9.      8. A subscriber loosinglosing Internet access can have devastating consequences.

         10      9. As an ISP, Charter provides connections and enables connected computers to

  access the Internet.

         11      10. Charter provides Internet access service to its residential subscribers for a flat

  monthly fee.

         12.     11. Charter cannot remove third-party material from the Internet unless that

  material is stored on Charter’s own servers. Charter cannot control what its customers store on

  their own or others’ computers.

         13      12. Charter has no ability to remove or take down infringing content from its

  customers’ computers. Charter cannot restrict, or even detect, the specific content that its

  customers access or share.

         14      13. Charter cannot supervise the online activities of its customers. Nor can Charter

  control its customers’ conduct online. While Charter could disable its customers’ ability to access

  its ISP system, or terminate customers’ accounts, that does not give Charter control over its




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  customers’ conduct online. For example, a Charter subscriber could access the Internet through

  other accounts or public networks.

          15.       14. Charter also cannot determine whether one of its subscribers is using the

  network, as opposed to someone else using the subscriber’s account, with or without the

  subscriber’s permission to do so.

          16.       15. Charter does not control the Internet.

          17        16. The privacy of its customers is of paramount concern to Charter. Internet users

  frequently transmit private and sensitive information, and trust their ISP to safeguard their

  privacy and security.

          18        17. Charter does not spy on its customers or monitor their Internet traffic. Even if

  it could do so—and it cannot—it would not. Engaging in surveillance in such a fashion would

  violate Charter’s policies, ethics, and corporate culture.

          19.       18. Operating an ISP service—and safeguarding customers and other Internet

  users—entails responding to a number of potential abuses such as security threats, invasion of

  privacy, identity theft, denial of service attacks, botnets or other malware (such as viruses,

  spyware, and worms), spam, fraud, phishing scams, copyright infringement, and a host of others.

          20        19. Charter’s Subscriber Security Services Team manages issues like these that

  threaten Charter’s network or customers, as well as other abuses of Charter’s system. This team

  is tasked with protecting Charter’s customer -facing networks and services by assessing and

  responding to security threats and attacks, and coordinating threat -mitigation activities with the

  appropriate organizations and external agencies to ensure a safe and secure communications

  infrastructure.




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          21.     20. Among other things, the Subscriber Security Services Team assists law

  enforcement and cooperates with other ISPs to combat security and privacy threats, addresses

  internal security issues, assists customers, and processes copyright infringement notices that

  Charter receives from copyright owners and their agents.

          B.      Charter’s Receipt of Copyright Infringement Notices

          22.     21. When Charter receives a copyright infringement notice alleging copyright

  infringement from a third party, it reviews the notice to ensure that it complies with Charter’s

  policies. Among other things, Charter requires the sender of a copyright infringement notice to

  identify the copyrighted work claimed to have been infringed and to identify the material that is

  claimed to be infringing. Copyright infringement notices must also comply with Charter’s other

  policies, including Charter’s privacy policy.

          23      22. Charter reserves the right to terminate subscribers and account holders who

  repeatedly infringe copyrights, and Charter’s policy is to terminate repeat infringers when Charter

  deems it appropriate to do so. Charter informs its subscribers and account holders of this policy.

          24      23. Charter cannot verify infringement notices that it receives. In particular,

  Charter cannot verify whether the information in a notice is accurate.

          25      24. Charter cannot itself detect infringement, and cannot determine whether

  infringing content is crossing its network. Charter cannot control or examine material that is on

  its subscribers’ computers. Even if it could, doing so would violate Charter’s policies and violate

  its users’ privacy.

          26.     25. Copyright infringement notices that Charter receives for its ISP service always

  refer to acts of alleged infringement that occurred in the past. Charter cannot examine the content




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  a customer allegedly made available in the past, detect what the customer did with that content,

  or know whether a subscriber was authorized to possess, reproduce, or distribute that content.

            27.    26. Charter cannot confirm whether the sender of a notice actually owns the

  copyright for an allegedly infringed work, nor whether the sender is authorized to send notices on

  behalf of the true owner. Charter cannot determine the true owner of the copyright for an

  allegedly infringed work.

            28     27. Charter cannot control alleged infringement on the Internet. Charter cannot

  supervise or control what its customers store on their computers, and cannot look at, locate, or

  remove any content that its customers may be uploading, downloading, or accessing through its

  ISP service.

            29.    28. With respect to business customers, terminating an account would sever

  access to multiple potentially innocent end -users. This is particularly the case with business

  customers that may be regional or local ISPs, through which hundreds, thousands, or even tens or

  hundreds of thousands of potentially innocent end -users’ internet access could be severed due to

  the alleged acts of a single end -user.

            C.     Charter’s Abuse Tracking System

            30     29. In this case, Plaintiffs seek relief for claims of infringement that accrued from

  March 24, 2013 through May 17, 2016 (the “Claim Period”).34




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       The Universal Plaintiffs seek relief for claims that accrued on or after March 24,
       2013; the Sony Music Plaintiffs and Warner Plaintiffs seek relief for claims that accrued on
       or
       after April 18, 2013; and the Sony/ATV and EMI Plaintiffs seek relief for claims that accrued o
       n
       or after June 15, 2013.
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         31.        30. During the Claim Period, Charter received different types of notifications

  concerning its ISP system. This included security notices, notices about system issues, copyright

  infringement notices, and others.

         32.        31. Prior to and throughout the Claim Period, Charter utilized a system called

  “CATS”—Charter Abuse Tracking System—to partially automate the handling of abuse

  notifications that Charter receives. Among other things, Charter’s Subscriber Security Services

  Team used CATS as a tool for processing and addressing copyright infringement notices. This

  allowed Charter to process, respond to, and to address such notices more efficiently.

         33.        32. Automation is important, because manual processing of incoming abuse

  complaints is infeasible for all but the smallest ISP networks in light of the automated techniques

  used by spammers that generate a high volume of abuse complaints. Automation also decreases

  the risk that complaints from copyright owners could get lost in the flood of other abuse

  complaints.

         34.        33. CATS converted copyright infringement notices that meet Charter’s basic

  requirements into “tickets.” CATS also stored a copy of the copyright notices received (if any)

  per subscriber.

         35         34. Accepting and processing notices is both time -consuming and costly,

  requiring multiple systems and numerous personnel to work in coordination. Charter incurs costs

  in connection with undertaking these actions, as well.

         36         35. During the Claim Period, Charter processed notices received from Plaintiffs,

  in accordance with its policies and CATS and forwarded those notices to accused subscribers

  reminding them that infringing copyright violates Charter’s Acceptable Use Policy and




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  emphasizing that they should take immediate action to stop the exchange of any infringing

  material.

         D.         The Copyright Alert System (CAS)

         37.        36. In July 2011, all of the major record companies and movie studios, along with

  their industry representatives, the RIAA and the Motion Picture Association of America

  (“MPAA”), and five of the largest ISPs in the United States collectively entered into the

  Copyright Alert System Memorandum of Understanding (“CAS MOU”) to establish a

  “Copyright Alert System” (the “CAS”).

         38.        37. Under the CAS, signatory content owners or their representatives, which

  included the RIAA and MPAA, could send notices of alleged copyright infringement (“ISP

  Notices”) to ISPs. The ISPs would accept and process the ISP Notices.

         39         38. If an ISP received an ISP Notice that could be associated with the account of a

  particular ISP subscriber, then the ISP would send a notification—called a Copyright Alert—to

  the subscriber.

         40         39. Under the CAS MOU, participating ISPs were required to accept and process

  only a limited volume of ISP Notices. The CAS MOU also provided that a participating ISP

  could temporarily cease processing ISP Notices if it received more than its business processes

  and systems could reasonably address.

         41.        40. After an ISP had forwarded 6six Copyright Alerts to a single subscriber, the

  ISP was not required to forward any subsequent Copyright Alerts, regardless of the fact that the

  subscriber might be the subject of multiple, subsequent infringement notices.

         42         41. Further, an ISP was not required to forward more than one Copyright Alert to

  a single subscriber within a seven-day grace period, to give an affected subscriber time to review


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  each Copyright Alert pertaining to such subscriber’s account and to take appropriate steps to

  avoid receipt of further Copyright Alerts.

         43.     42. The participating ISPs were required to track the number of notices their

  subscribers received so that the information could be provided to the content owners (or their

  representatives), so that the content owners could institute infringement actions directly against

  the subscribers—not the ISPs.

         44      43. The CAS did not require ISPs to terminate subscribers who were repeatedly

  accused of infringement.

         45.     44. At least some of Plaintiffs are, and during the Claim Period were, well aware

  of the provisions of the CAS MOU.

         46.     45. On information and belief, all of the Warner Plaintiffs are, or during the

  Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

  MOU.

         47.     46. On information and belief, all of the Sony Music Plaintiffs are, or during the

  Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

  MOU.

         48      47. On information and belief, all of the Sony/ATV and EMI Plaintiffs are, or

  during the Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the

  CAS MOU.

         49      48. On information and belief, all of the Universal Plaintiffs are, or during the

  Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

  MOU.

         50.     49. The RIAA was a signatory to the CAS MOU.


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         51.     50. On information and belief, all of the Record Company Plaintiffs were

  members of the RIAA during the Relevant Time Period or were affiliates, subsidiaries, or

  partners of RIAA members.45

         52.     51. Charter was also aware of the CAS MOU during the Relevant Time Period;

  however, Charter was not a signatory to the CAS MOU.

         53.     52. On information and belief, one goal of the CAS MOU was to establish

  industry standard practices for entertainment industry copyright owners to submit copyright

  infringement notices to ISPs, and for ISPs to process such notices and inform their subscribers of

  infringement allegations against them.

         54      53. Content owners participating in the CAS MOU (including some of Plaintiffs

  here) and participating ISPs (including SBC Internet Services, Verizon Online, Comcast Cable

  Communications Management, CSC Holdings, and Time Warner Cable) established the Center

  for Copyright Information (the “CCI”).

         55.     54. An express goal of the CCI was “facilitating the involvement of

  non-participating ISPs in … the Copyright Alert program.”

         56.     55. In May 2014, RIAA Chairman and CEO Cary Sherman described the Center

  for Copyright InformationCCI as “a model for success.”56 Mr. Sherman lauded “the Alert

  program and all its accomplishments.” He stated that the CAS was “moving the needle,” and

  acknowledged that as the CAS program progressed, “there were fewer and fewer Alerts sent at

  each level.”
  45
     The “Record Company Plaintiffs” are comprised of Plaintiffs WRI, Atlantic, Bad Boy,
     Elektra, FBR, Lava, Maverick, Nonesuch, The All Blacks, Warner Music, Warner
     Records/SIRE, WEA, Sony, Arista Music, Arista Records, LaFace, Provident, Sony Latin,
     Century, Volcano, Zomba, UMG, and Capitol Records, as defined in Paragraph 37 of
     Plaintiffs’ First Amended Complaint.
  56
     Cary Sherman, “CCI: A Model for Success,” RIAA.com (May 28, 2014) (available online at
     https://www.riaa.com/cci-a-model-for-success/).
                                                 57
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         57.        56. Further, upon information and belief, early reports note that merely sending

  notices had a meaningful impact on reducing infringement, as evidenced by the fact that fewer

  subscribers continued to receive subsequent alerts. Further, the CCI believed that the program

  would be effective against the vast majority of subscribers engaged in on-line infringement and

  that “very few subscribers, after repeated alerts, will persist (or allow others to persist) in the

  content theft.”

         58         57. Importantly, the CAS MOU required that the ISPs provide data to the content

  owners and/or their representatives, so that the participants cancould assess the effectiveness of

  the program.

         E.         Plaintiffs Withdrawal of Works for Which They Sent Copyright

                    Infringement Notices to Charter

         59         Upon information and belief, the Record Company Plaintiffs claim to own or

  control the vast majority of music sold in the United States.

         60.        58. On information and belief, the Record Company Plaintiffs, through their agent

  the RIAA, engaged the services of rights -enforcement company MarkMonitor to monitor and

  detect infringing activity and send notices alleging copyright infringement to Charter.

  MarkMonitor markets itself as an “antipiracy solution.”

         61.        59. On March 22, 2019, Plaintiffs sued Charter for contributory infringement and

  vicarious liability, alleging that Charter’s subscribers had infringed at least 11,482 sound

  recordings and music compositions (the “works in suit”). The works in suit are listed on Exhibits

  A and B to Plaintiffs’ original complaintOriginal Complaint.

         62         60. In connection with these allegations, Plaintiffs claimed that they “own and/or

  control in whole or in part the copyrights and/or exclusive rights” in the works in suit.


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            63.    61. In connection with these allegations, Plaintiffs claimed that between March

  24, 2013 and May 17, 2016, their “representatives … sent hundreds of thousands of statutory

  infringement notices to Charter, under penalty of perjury,” claiming that Charter’s subscribers

  infringed the works in suit. The Music Publisher Plaintiffs67 did not send any notices, however,

  as the notices were sent only on behalf of the Record Company Plaintiffs’ representative, the

  RIAA.

            64     62. On January 15, 2020, Plaintiffs amended the list of works in suit, removing

  over 450 works from this case (the “Dropped Works”).

            65.    63. The Record Company Plaintiffs dropped 272 sound recordings and the Music

  Publisher Plaintiffs dropped 183 music compositions.

            66.    64. Upon information and belief, Plaintiffs dropped at least some of these works

  because, contrary to their allegations, they do not “own and/or control in whole or in part the

  copyrights and/or exclusive rights” to the works.

            67.    For many of the Dropped Works, the claimant listed on the U.S. Copyright Office

  registration certificate is an entity other than the formerly asserting Plaintiff. Based on review of

  other publicly available information, these claimant-entities appear independent from the

  formerly asserting Plaintiff. On information and belief, Plaintiffs sent infringement notices for

  these Dropped Works despite lacking the right to do so.



  67
       The “Music Publisher Plaintiffs” is comprised of Plaintiffs Warner Chappell,
       Warner-Tamerlane, WC Music, W.C.M., Unichappell, Rightsong Music, Cotillion, Intersong,
       Chappell, Sony/ATV, EMI Al Gallico, EMI Algee, EMI April, EMI Blackwood, EMI
       Colgems, EMI Full Keel, EMI Longitude, EMI Entertainment, EMI Jemaxal, EMI Feist, EMI
       Miller, EMI Mills, EMI Unart, EMI U, Famous Music, Jobete, Stone Agate, Gems-EMI,
       Stone, UMC, MGB, Universal Music Publishing, AB, Publishing Limited, MGB Limited, Z
       Tunes, Island, MCA Limited, MCA Publishing Limited, Music Corp., Musik Edition,
       Polygram Publishing, and Songs of Universal, as defined in Paragraph 80 of Plaintiffs’ First
       Amended Complaint.
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          68.     65. Indeed, Plaintiffs only dropped these works after they were ordered in this

  case to produce further documentation relating to their purported ownership or ability to assert

  the works in suit in this case.

          69.     66. Despite later dropping these works, the Record Company Plaintiffs, or their

  agent acting on their behalf, nevertheless sent notices to Charter in connection with the Dropped

  Works, each claiming that theyto “have identified a user … reproducing or distributing an

  unauthorized copy of a copyrighted sound recording,” and stating that the recipient of the notice

  “may be liable for infringing activity occurring” on Charter’s network. The Record Company

  Plaintiffs further claimed in their notices that the targeted user’s “Internet account was used to

  illegally copy and/or distribute copyrighted music over the Internet” and that the notice contained

  “the details of the illegal file-sharing, including the time, date, and a sampling of the music

  shared.” The Record Company Plaintiffs’ notices “assert that the information in the notice is

  accurate” and that theythe sender had “have a good faith belief that this activity is not authorized

  by the copyright owner, its agent, or the law.” The notices further stated that “[u]nder penalty of

  perjury,” that “the RIAA is authorized to act on behalf of its member companies in manners

  involving the infringement of their sound recordings, including enforcing their copyrights and

  common law rights on the Internet.”

          70.     67. While the Music Publisher Plaintiffs did not send any notices for the music

  compositions in suit to Charter, the Music Publisher Plaintiffs’ infringement claims in this case

  purportedly rely on notices sent by the Record Company Plaintiffs to Charter, including those for

  the Dropped Works.

          71      68. Upon information and belief, at least in connection with the Dropped Works,

  the Record Company Plaintiffs sent notices to Charter with inaccurate information, including but


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  not limited to the misrepresentation that the RIAA was authorized on behalf of Plaintiffs to send

  a notice relating to these allegedly infringed works, that the Record Company Plaintiff on whose

  behalf the notice was sent owned or controlled the work, and that the actions alleged to have

  been taken by Charter’s subscribers constituted infringement of the Record Company Plaintiffs’

  rights.

            72.   69. Upon information and belief, the Record Company Plaintiffs did not own the

  Dropped Works when they sent notices for them.

            73.   70. Upon information and belief, the Record Company Plaintiffs did not have the

  right to send notices to Charter for the Dropped Works.

            74    Upon information and belief, Plaintiffs, as a matter of practice, do not confirm

  whether they “own and/or control in whole or in part the copyrights and/or exclusive rights” to

  works before notices are sent to ISPs, like Charter.

            75.   71. After Plaintiffs identified the works in suit, including the Dropped Works,

  Charter investigated Plaintiffs’ purported ownership or control of the Dropped Works, or

  whether the Record Company Plaintiffs otherwise had the right to send notices to Charter for

  them.

            76    72. Many of the same record companies and music publishers that are Plaintiffs in

  this case pursued damages in Sony Music Entertainment et al. v. Cox Communications, Inc. et

  al., Case No. 1:18-cv-950 (LO/JFA) (E.D. Va.) (“Sony”) for certain of the Dropped Works, and

  the. The jury in the Sony case returned a verdict for certain of the Dropped Works in an amount

  of nearly $100,000 per work.




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         77.     Yet for many other Dropped Works that were also originally asserted in Sony,

  Plaintiffs dropped those works in Sony before trial, further demonstrating their belief that they

  did not possess the right to send notices for these Dropped Works.

         78.     In this case, Plaintiffs’ counsel could not confirm to the Court either that each of

  the Sony record companies and music publishers owned or controlled each of the works at issue

  in that case or was the correct legal entity to obtain an award of statutory for each of those works.

         79      73. Upon information and belief, Plaintiffs devote substantial resources to

  protecting and exploiting the copyrights they claim to own or control.

         80.     74. Upon information and belief, at all times, Plaintiffs had or should have had

  knowledge of the status of their purported ownership or control of copyrights when they sent

  infringement notices regarding those copyrights, including those at issue in this case.

         81      Plaintiffs sent millions of notices to ISPs during the Claim Period, including

  hundreds of thousands of notices to Charter.

         82.     Charter could not have discovered that Plaintiffs’ notices for the Dropped Works

  were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this case and

  Charter analyzed Plaintiffs’ notice data.

         F.      The Unreliability of Plaintiffs’ Copyright Infringement Notices

         83.     75. Notices of alleged copyright infringement, such as those Plaintiffs’ agents

  submitted to Charter, can be unreliable.

         84      76. Academic studies have demonstrated that copyright infringement notices sent

  by third parties to online service providers can be unreliable and are prone to error.

         85      77. For example, a 2016 study examined a sample of 288,675 copyright

  infringement notices that were sent to online service providers between May 1, 2013 and October


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  31, 2013 (the “Study Period”). Jennifer Urban, et al., Notice and Takedown in Everyday Practice

  (2016) (“Urban Study”).78

           86.    78. The Urban Study found that 4.2% of the infringement claims examined “were

  fundamentally flawed because they targeted content that clearly did not match the identified

  infringed work.” Id. at 88. In addition, 28.4% of notices that the Urban Study examined “had

  characteristics that raised clear questions about their validity,” including notices with “multiple

  potential issues.” Id.

           87.    79. Because some notices in the sample set for the Urban Study contained

  multiple requests, these notices together represented over 100 million claims of infringement. Id.

           88     80. The RIAA sent notices that were included in the sample that the Urban Study

  analyzed.

           89     81. MarkMonitor sent notices that were included in the sample that the Urban

  Study analyzed.

           90.    82. The Urban Study also discussed specific instances in which notices sent by

  MarkMonitor were “clear mismatches” between the allegedly infringed work, and the online

  content that was allegedly infringing. Id. at 92.

           91     83. The Urban Study also identified MarkMonitor as having sent tens of

  thousands of notices during the Study Period alleging infringement by file-sharing websites that

  had been “dead more than 18 months.” Id. at 89-90.

           92     84. Multiple news stories, including stories from the time period covered by

  Plaintiffs’ copyright infringement allegations, reported errors in notices sent by MarkMonitor to

  online service providers. For example, in February and March of 2013, multiple news stories
  78
       Available online at
       https://papers.ssrn.com/sol3/Delivery.cfm/SSRN_ID2938642_code1788303.pdf?abstractid=275
       5628&mirid=1 (last visited March 11, 2020).
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  highlighted instances in which MarkMonitor (under the name Dtecnet, a division of

  MarkMonitor) had sent erroneous copyright infringement notices to online service providers.

         93.      85. A February 3, 2013 news story reported that Dtecnet, a division of

  MarkMonitor, had sent copyright infringement notices to Google, alleging that HBO’s own

  website contained infringing copies of HBO’s copyrighted content. See Ernesto Van der Sar,

  “HBO Wants Google to censor HBO.com,” TorrentFreak (February 3, 2013).89

         94       86. A March 1, 2013 news story reported that Dtecnet, a division of MarkMonitor,

  had misidentified a modified version of an online game as a television show, resulting in

  issuance of multiple incorrectinaccurate copyright infringement notices. See Masnick, Mike,

  “System Used By New Six Strikes CAS, Falsely Identifies Game Mods As NBC TV Shows,”

  TechDirt.com (Mar. 1, 2013).910

         95       87. MarkMonitor was also the rights -enforcement organization that the CCI

  employed to detect instances of alleged infringement and send ISP Notices in connection with the

  CAS.

         96       88. In 2012, the CCI hired the firm Stroz Friedberg to perform an assessment of

  MarkMonitor’s technology in connection with the CAS.

         97       89. Stroz Friedberg had been retained by the RIAA as a lobbying firm from 2004

  through 2009.

         98.      90. The Stroz Friedberg assessment contained six recommendations that “focused

  on improving the accuracy and reliability” of MarkMonitor’s processes.



  89
     Available online at https://torrentfreak.com/hbo-wants-google-to-censor-hbo-com-130203/
     (last visited March 11, 2020).
  910
      Available online at
      https://www.techdirt.com/articles/20130224/22341022086/system-used-new-six-strikes-cas-fal
      sely-identifies-game-mods-as-nbc-tv-shows.shtml (last visited March 11, 2020).
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         99.     91. Among the six recommendations, Stroz Friedberg advised that MarkMonitor

  should augment the file identification trail. Specifically, Stroz Friedberg stated that the current

  manual verification process employed by MarkMonitor to review the first instance of an

  infringed file is key to all subsequent steps in its process. Thus, if a file were to be improperly

  verified as infringing as a result of improper or incomplete review, it would generate a ripple

  effect through the entire AntiPiracy workflow, resulting in the collection and generation of

  notices for non-protected works. MarkMonitor advised that the potential exposure of risk at this

  juncture warranted supplemental mitigating measures.

         100.    92. Stroz Friedberg further explained that MarkMonitor generates notices for

  allegedly infringing files before it has verified those files as authentic. MarkMonitor stated that

  this process results in the collection of thousands of files that are later determined to be not

  infringing. MarkMonitor also stated that this process increases the chances that notices will be

  generated for non-infringing files.

         101.    93. After it was reported that Stroz Friedberg hashad been a lobbyist for the RIAA

  between 2004 and 2009, the CCI hired a second consulting firm, Harbor Labs, to conduct another

  review of MarkMonitor’s system.

         102     94. Harbor Labs did not analyze MarkMonitor’s system directly but relied on test

  results conducted previously by Stroz Friedberg as part of its assessment in 2012.

         103.    95. On December 5, 2012, Harbor Labs released its evaluation, in which it stated

  that MarkMonitor should undergo consistent and regular end-to-end testing, improve its

  verification approaches, and improve its controls over employee access to sensitive data.

         104     96. Specifically, Harbor Labs noted that MarkMonitor does not maintain any

  precision-relevant metrics on its live system. In other words, except for in the event a recipient


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  of a notice complains that the notice is inaccurate, MarkMonitor does not maintain any data

  confirming its notices are accurate.

         105.      97. On information and belief, Plaintiffs have not directly sued providers of P2P

  software;, and/or companies or individuals who host, index, or link to infringing copies of the

  works in suit.

         106.      98. On information and belief, Plaintiffs have not sued any individual direct

  infringers for the infringements they allege here.

         107.      99. Charter brings ClaimClaims I and II for declaratory relief based upon explicit

  threats and actual litigation by Plaintiffs against Charter. An actual case or controversy exists

  within the meaning of 28 U.S.C. § 2201 as to whether Charter bears liability pursuant to the

  claims threatened by Plaintiffs in and out of court. A judicial determination is necessary and

  appropriate at this time so that the parties may ascertain their respective rights and obligations, if

  any.

         G.        Plaintiffs’ Rampant and Deceptive Enforcement Conduct

         108       Upon information and belief, the Record Company Plaintiffs, through their agent

  the RIAA, send notices of alleged copyright infringement for works they do not own or otherwise

  have the right to enforce.

         109.      The Record Company Plaintiffs, along with the RIAA, have engaged in a

  decades-long campaign against consumers, threatening expensive, time-consuming litigation, and

  wielding the prospect of outsized and disproportionate statutory damages.

         110.      For example, between approximately 2004 and 2009, the record industry initiated

  over 30,000 lawsuits against individuals who were alleged to have downloaded music on




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  peer-to-peer networks. Many of these individuals were forced to settle their suits, out of fear, as

  one court observed:

                   There is a huge imbalance in these cases. The record companies are
                   represented by large law firms with substantial resources. The law
                   is also overwhelmingly on their side. They bring cases against
                   individuals, individuals who don’t have lawyers and don’t have
                   access to lawyers and who don’t understand their legal rights.

                   Some category of individuals are defaulted because they read the
                   summons, and they haven’t the foggiest idea what it means and
                   don’t know where to go, so they’re defaulted, and they owe money
                   anywhere from $3,000 to $10,000 as a result of these defaults.11

            111    The Record Company Plaintiffs, through the RIAA, exploit and leverage this

  imbalance of knowledge and resources in order to extract settlements from the consuming public.

  Upon information and belief, in order to do so, the Record Company Plaintiffs and/or the RIAA

  exploit sound recordings beyond their legal entitlement.

            112.   The Record Company Plaintiffs’ practices also target ISPs, like Charter, whose

  subscribers are consumers of Plaintiffs’ goods.

            113.   As an ISP, Charter receives Plaintiffs’ notices and, in turn, passes them onto its

  subscribers. In certain circumstances, the subscribers question the veracity of the notices. As a

  result, Charter bears the cost and burden of processing Plaintiffs’ notices and engaging with its

  subscribers to address these and other issues as a result of Plaintiffs’ actions. To the extent the

  notices that Charter forwards to its subscribers contain inaccurate allegations of copyright

  infringement, Charter suffers harm to its reputation and loses the goodwill of its subscribers.

            H.     The Works in Suit Constitute a Small Percentage of Each Plaintiff’s

                   Catalogue



  11
       Capitol Records, Inc. et al. v. Noor Alaujan, et al., Case No. 03-11661-NG (D. Mass.), June 7,
       2008 Mot. Hr’g Tr. at 8:14-25.
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         114.    Plaintiffs allege to collectively own or control the vast majority of music exploited

  in the United States, if not the world.

         115.    Upon information and belief, Plaintiffs collectively own or control many millions

  of works. Yet in this case, they collectively only assert the alleged infringement of 11,027 works.

         116     For example, of the 66 individual Plaintiffs, approximately 45 assert fewer than

  100 works each. Many of these Plaintiffs assert only a handful of works and, in some cases, all

  from the same album(s) and/or recording artist(s).

         117.    Even the Plaintiffs that assert the highest numbers of works in suit—i.e., Sony

  Music Entertainment, Inc. (approx. 2,283), UMG Recordings, Inc. (approx. 1,903), and WC

  Music Corp. (approx. 822)—assert infringement of only a very small percentage of the total

  number of works that each of those Plaintiffs owns or controls.

         118     Based on the foregoing, it is clear that Plaintiffs are suing on only a small

  percentage of the total number of works that each owns or controls.

         119.    Of this small percentage of works owned or controlled by each Plaintiff asserted

  in this case, upon information and belief, Plaintiffs have not elected to only sue for infringement

  of their most popular works.

         120     Of this small percentage of works owned or controlled by each Plaintiff asserted

  in this case, upon information and belief, Plaintiffs have not elected to only sue for infringement

  of their most profitable works.

         121     Of this small percentage of works owned or controlled by each Plaintiff asserted

  in this case, upon information and belief, Plaintiffs have not elected to only sue for infringement

  of their works that were allegedly infringed most frequently during the Claim Period.




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          122.   Plaintiffs instead elected to sue for infringement of those works for which they

  claim a Charter subscriber infringed after that subscriber was the subject of “multiple” prior

  infringement notices received by Charter, as they allege. See, e.g., First Amended Complaint, ¶¶

  5, 9, 101, 109, 115, 118.



                                              CLAIM ONE

      FOR A DECLARATORY JUDGMENT THAT CHARTER IS NOT LIABLE FOR
       CONTRIBUTORY INFRINGEMENT OF PLAINTIFFS’ WORKS AT ISSUE

          123    100. Charter repeats the allegations in Paragraphs 1 through 99122 and

  incorporates them here.

          124    101. Charter provides high-speed Internet service that enables its subscribers to

  access the Internet and the myriad of services that Internet access enables and provides. Charter

  itself does not store its subscribersubscribers’s content on its servers in connection with its ISP

  service, does not host websites that index infringing files, does not and did not promote the

  ability to infringe on its network, and does not create or distribute peer-to-peer file-sharing

  software or other file-sharing software.

          125.   102. Charter’s ISP system is capable of substantial non-infringing uses.

          126.   103. Charter cannot itself detect infringement occurring on its system or the

  Internet.

          127.   104. Charter lacked the ability to verify Plaintiffs’ allegations of infringement.

          128    105. The systems Plaintiffs used to detect infringement and send copyright

  infringement notices were unreliable and were known to be unreliable.

          129.   106. Charter lacked knowledge of any acts of copyright infringement by others

  particularly claimed by Plaintiffs in this action.


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         130.    107. Charter lacked knowledge of any acts of copyright infringement by others

  generally claimed by Plaintiffs in this action.

         131.    108. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to reproduce works in copies under 17 U.S.C. § 106(1).

         132     109. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to prepare derivative works based upon Plaintiffs’ copyrighted works

  under 17 U.S.C. § 106(2).

         133.    110. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to distribute copies of Plaintiffs’ copyrighted works to the public by

  sale or other transfer of ownership, or by rental, lease, or lending under 17 U.S.C. § 106(3).

         134.    111. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to perform Plaintiffs’ copyrighted works publicly in copies under 17

  U.S.C. § 106(4).

         135.    112. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to display Plaintiffs’ copyrighted works publicly works in copies under

  17 U.S.C. § 106(5).

         136     113. Charter has not materially contributed to any third party’s violation of

  Plaintiffs’ exclusive right to perform Plaintiffs’ copyrighted sound recordings publicly by means

  of a digital audio transmission under 17 U.S.C. § 106(6).

         137     114. Charter is entitled to a declaration that it is not liable to Plaintiffs, or any of

  them, on account of copyright infringement by others.

                                             CLAIM TWO

      FOR A DECLARATORY JUDGMENT THAT CHARTER IS NOT LIABLE FOR
          VICARIOUS INFRINGEMENT OF PLAINTIFFS’ WORKS AT ISSUE

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          138.   Charter repeats the allegations in Paragraphs 1 through 137 and incorporates them

  here.

          139.   At all relevant times, Charter lacked the ability, including the practical ability, to

  supervise its subscribers.

          140    At all relevant times, Charter lacked the ability, including the practical ability, to

  control its subscribers.

          141    At all relevant times, the sole means of control Charter had over a subscriber’s use

  of the Internet was Charter’s ability to disable Internet service or terminate the subscriber’s

  account, thereby removing the customer’s ability to access the Internet for any purpose.

          142    Charter did not, and does not, have a direct financial interest in infringement of

  Plaintiffs’ works, if any, that occurred on Charter’s system or network.

          143    Charter did not, and does not, receive a direct financial benefit as a result of any

  copyright infringement that may occur over its network.

          144.   Copyright infringement occurring over Charter’s ISP system can slow traffic and

  adversely impact the transmission of data for all users of the system. These effects harm both

  Charter and its users.

          145    At all relevant times, Charter provided Internet access service to its residential

  subscribers for a flat monthly fee. Charter’s fees are not based on the particular uses customers

  make of its ISP system, including whether that customer is alleged to have infringed.

          146    To the extent any of Plaintiffs’ works are available to infringe on P2P networks,

  including the works in suit, they are accessible generally on the Internet, not just by Charter’s

  subscribers.




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         147.    Because of this fact, Plaintiffs allege that P2P infringement of their works (not

  limited to their works in suit) has greatly affected their respective businesses. But Plaintiffs do

  not (and could not) allege that all of this alleged infringement occurred using Charter’s service.

         148.    Further, Plaintiffs only assert that Charter is secondarily liable for the

  infringement of a small percentage of the total number of works that each Plaintiff owns or

  controls.

         149     Of this small percentage of works owned or controlled by each Plaintiff asserted

  in this case, upon information and belief, Plaintiffs have not elected to only sue for infringement

  of either their most popular works, their most profitable works, their works that were allegedly

  infringed the most by Charter’s subscribers during the Claim Period, or their works that were

  allegedly infringed the most across all networks. Instead, Plaintiffs have sued only on those

  works that were allegedly infringed by Charter’s subscribers after that subscriber was the subject

  of multiple prior infringement notices.

         150.    Each Plaintiff cannot demonstrate that infringement of their respective works in

  suit served as a draw to subscribe to Charter’s ISP service, as required to establish vicarious

  liability. See, e.g., Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 674 (9th Cir. 2017); UMG

  Recordings, Inc. v. Grande Communs. Networks, LLC, 2018 U.S. Dist. LEXIS 160492, at *9

  (W.D. Tex. Sep. 20, 2018).

         151.    Charter is entitled to a declaration that it is not vicariously liable to Plaintiffs, or

  any of them, on account of copyright infringement by others for the works in suit.

                                            CLAIM THREE

         VIOLATION OF DMCA SECTION 512(f) FOR KNOWINGLY SENDING
        MATERIALLY INACCURATE NOTICES OF ALLEGED INFRINGEMENT




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         152.    Charter repeats the allegations in Paragraphs 1 through 114151 and incorporates

  them here.

         153.    115. Upon information and belief, during the Claim Period, the Record Company

  Plaintiffs sent notices to Charter that contained inaccurate information, including but not limited

  to the misrepresentation that the RIAA was authorized on behalf of the Record Company

  Plaintiffs to send a notice relating to these allegedly infringed works, that the Record Company

  Plaintiff on whose behalf the notice was sent owned or controlled the work, and that the actions

  alleged to have been taken by Charter’s subscribers constituted infringement of the Record

  Company Plaintiff’s rights.

         154     116. Upon information and belief, the Record Company Plaintiffs knew or should

  have known, that the notices contained inaccurate information before they were sent. For

  example, the Record Company Plaintiffs knew, or should have known, that they did not own or

  control certain of the works identified in notices sent to Charter before they were sent.

         155.    117. Upon information and belief, the Record Company Plaintiffs became aware

  of the fact that they did not own or control certain works or, alternatively, they did not have the

  permission to send infringement notices relating to certain works. Upon information and belief,

  Plaintiffs nevertheless sent, or authorized the sending of, notices to Charter, despite this

  knowledge.

         156.    Upon information and belief, the fact that the Record Company Plaintiffs

  authorized the sending of numerous infringement notices for works that they did not own or

  control evinces a lack of a good-faith belief that the statements in their notices were accurate.

         157     118. During the Claim Period, Charter received notices from the Record Company

  Plaintiffs that it could not verify. Specifically, Charter could not verify whether any of the


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  Plaintiffs owned or controlled the work identified in the notice. Charter also could not verify

  whether the sender of the notice was authorized to send it. Charter also could not verify whether

  the activity that was alleged in the notice constitute copyright infringement.

            158.   119. During the Claim Period, Charter relied on the Record Company Plaintiffs’

  statement that “the information in the notice is accurate” and that Plaintiffs “have a good faith

  belief that this activity is not authorized by the copyright owner, its agent, or the law.”

            159    120. In reliance on these representations, Charter accepted the notices and

  processed them accordingly. This includes, but is not limited to, accepting each notice into its

  CATS, processing it, forwarding it to the referenced subscriber, and taking any further necessary

  action.

            160.   The steps Charter took in response to receiving Plaintiffs’ inaccurate notices can

  result in the “removal or blocking” of the noticed material.

            161.   121. Charter also incurs costs in implementing its CATS, including when

  processing Plaintiffs’ inaccurate notices.

            162    122. Charter is also injured when it processes inaccurate notices, causing it to

  forward false accusations to its subscribers, to the extent this creates tension with the impacted

  subscribers, negatively affects goodwill, and causes reputational harm to Charter.

            163.   123. Charter was alsoadditionally injured through its investigation of the veracity

  of the notices for the Dropped Works, including whether Plaintiffs owned or controlled the

  works when the Record Company Plaintiffs sent notices for them, including to the extent they

  relate to the Music Publisher Plaintiffs’ Dropped Works, or whether the Record Company

  Plaintiffs had the right to send notices to Charter for the Dropped Works.




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          164.   124. Charter was alsofurther injured through its defense of the allegations

  concerning fallacious notices, including determining whether Plaintiffs’ own or control the works

  when the Record Company Plaintiffs sent the notices or whether the Record Company Plaintiffs

  had the right to send notices to Charter for the Dropped Works, including to the extent they relate

  to the Music Publisher Plaintiffs’ Dropped Works.

          165.   Charter could not have discovered that Plaintiffs’ notices for the Dropped Works

  were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this case and

  Charter subsequently analyzed Plaintiffs’ notice data.

                                           CLAIM FOUR

           VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT,
                    COLO. REV. STAT. 6-1-101 et seq. (“CCPA”)

          166.   Charter repeats the allegations in Paragraphs 1 through 165 and incorporates them

  here.

          167    The Record Company Plaintiffs engaged in an unfair, unconscionable, deceptive,

  deliberately misleading, false, or fraudulent act or practice in the course of their business, by

  knowingly or recklessly sending, and causing to be sent, copyright infringement notices

  concerning works for which they did not own the rights and for which they lacked authorization

  to send such notices.

          168    In the course of their business, the Record Company Plaintiffs caused their agent,

  the RIAA, to engage in unfair, unconscionable, deceptive, deliberately misleading, false, or

  fraudulent trade practices, as described above.

          169.   In the course of Charter’s business, it has been injured by the Record Company

  Plaintiffs’ deceptive trade practice described above, including because Charter has incurred costs




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  in implementing its CATS system and its customer service operations in receiving, processing,

  and forwarding the Record Company Plaintiffs’ inaccurate notices.

           170.   Charter was also injured in the course of its business when it processed those

  inaccurate notices and thereby forwarded false accusations to its subscribers, including to the

  extent this created tension with the impacted subscribers, negatively affected Charter’s goodwill,

  and caused reputational harm to Charter.

           171    Charter was also injured in the course of its business by the cost and burden of

  investigating the veracity of those inaccurate notices for the Dropped Works, including:

  investigating whether Plaintiffs owned or controlled the works at the time(s) the Record

  Company Plaintiffs sent notices for them; investigating the extent to which those works related to

  the Music Publisher Plaintiffs’ Dropped Works; and investigating whether the Record Company

  Plaintiffs otherwise had the right or were authorized to send notices to Charter for the Dropped

  Works.

           172.   Charter was also injured in the course of its business by being required to defend

  itself against Plaintiffs’ allegations concerning the Dropped Works and the inaccurate notices,

  including: determining whether Plaintiffs owned or controlled the works at the relevant times, or

  whether the Record Company Plaintiffs had the right to send notices to Charter for the Dropped

  Works; and determining the extent to which the sound recordings at issue in the notices related to

  the Music Publisher Plaintiffs’ Dropped Works.

           173    On information and belief, the Record Company Plaintiffs own or control a

  significant share of the recorded music distributed, sold, and publicly performed in the United

  States. Thus, their conduct in sending inaccurate notices to Charter impacted actual and/or

  potential consumers of the Record Company Plaintiffs’ goods, services, and property.


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         174.    The Record Company Plaintiffs’ actions in sending and causing to be sent

  inaccurate notices to ISPs like Charter—which notices are in turn forwarded to members of the

  public—significantly impacts these members of the public, who are falsely led to believe that

  they have violated the law, and who are instructed to take actions based on inaccurate notices and

  otherwise coerced to comply with baseless threats based on the inaccurate notices.

         175.    The Record Company Plaintiffs’ conduct caused injury to Charter, and Charter

  has been and continues to be irreparably harmed by those actions and has no adequate remedy at

  law.

         176.    Upon information and belief, the Record Company Plaintiffs engaged in the

  conduct described above in bad faith, and their conduct was fraudulent, reckless, willful,

  knowing, and/or intentional.

         177     The Record Company Plaintiffs’ conduct described above constitutes deceptive

  trade practices in violation of the Colorado Consumer Protection Act, including at least

  violations of Colo. Rev. Stat. § 6-1-105(1)(e) and (kkk), and § 6-1-105(3).

         178     Charter could not have discovered that Plaintiffs’ notices for the Dropped Works

  were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this case and

  Charter subsequently analyzed Plaintiffs’ notice data.

                                   DEMAND FOR JURY TRIAL

         Defendant hereby requests a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

         WHEREFORE, Defendant Charter Communications, Inc. respectfully requests that this

  Court enter judgment as follows:

         a.      Judgment against Plaintiffs and in favor of Defendant on Plaintiffs’ claims set

  forth in the First Amended Complaint and dismissal of such claims with prejudice;
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         b.      A declaratory judgment, holding that Defendant is not liable for contributory

  infringement of Plaintiffs’ works at issue;

         c.      A declaratory judgment, holding that Defendant is not vicariously liable for

  infringement of Plaintiffs’ works at issue;

         d       c. For damages, in an amount up to the maximum provided by law, arising from

  Plaintiffs’ violation of 17 U.S.C. 512(f);

         e       For damages, in an amount up to the maximum provided by law, arising from

  Plaintiffs’ violation of Colo. Rev. Stat. 6-1-101 et seq., including but not limited to three times

  Charter’s actual sustained damages and prejudgment interest;

         f       d. Ordering Plaintiffs to pay Defendant’s reasonable attorneys’ fees and costs

  incurred in connection with this action pursuant to 17 U.S.C. § 505 and/or § 512(f); and

         g       e. Such other and further relief in Defendant’s favor as the Court shall deem just

  and proper.



  Dated: March 18April 29, 2020                                Respectfully submitted,

                                                s/ Jennifer A. Golinveaux
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